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                     EXHIBIT 3
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                                                                                GRANT NUMBER (FAIN):          84094001
                                                                                MODIFICATION NUMBER:          1                   DATE OF AWARD
                           U.S. ENVIRONMENTAL                                   PROGRAM CODE:                 5G                  12/20/2024
                                                                                TYPE OF ACTION                                    MAILING DATE
                           PROTECTION AGENCY                                    No Cost Amendment                                 12/20/2024
                                 Assistance Amendment                           PAYMENT METHOD:                                   ACH#
                                                                                ASAP
RECIPIENT TYPE:                                                                 Send Payment Request to:
Not for Profit                                                                  Contact EPA RTPFC at:
RECIPIENT:                                                                      PAYEE:
Climate United Fund                                                             Climate United Fund
7550 WISCONSIN AVE                                                              7550 WISCONSIN AVE
Fl 8                                                                            Fl 8
BETHESDA, MD 20814-3559                                                         BETHESDA, MD 20814-3559
EIN:
PROJECT MANAGER                                      EPA PROJECT OFFICER                                   EPA GRANT SPECIALIST
Elizabeth Bafford                                    Michelle Tucker                                       Walker Oneil
7550 Wisconsin Ave                                   1200 Pennsylvania Ave, NW, 19-H16                     OGD- GMBOD, 3093R
Fl 8                                                 Washington, DC 20460                                  1200 Pennsylvania Ave, NW
Bethesda, MD 20814                                   Email:                                                Washington, DC 20460-0001
Email:                                               Phone:                                                Email:
Phone:                                                                                                     Phone:
PROJECT TITLE AND EXPLANATION OF CHANGES

GGRF NCIF: Climate United

This amendment updates all terms and conditions.

BUDGET PERIOD                           PROJECT PERIOD                          TOTAL BUDGET PERIOD COST                TOTAL PROJECT PERIOD COST
04/01/2024 - 06/30/2029                 04/01/2024 - 06/30/2029                 $ 6,970,000,000.00                      $ 6,970,000,000.00

                                                              NOTICE OF AWARD
Based on your Application dated 10/12/2023 including all modifications and amendments, the United States acting by and through the US Environmental
Protection Agency (EPA) hereby awards $ 0.00. EPA agrees to cost-share 100.00% of all approved budget period costs incurred, up to and not exceeding
total federal funding of $ 6,970,000,000.00. Recipient's signature is not required on this agreement. The recipient demonstrates its commitment to carry out
this award by either: 1) drawing down funds within 21 days after the EPA award or amendment mailing date; or 2) not filing a notice of disagreement with the
award terms and conditions within 21 days after the EPA award or amendment mailing date. If the recipient disagrees with the terms and conditions specified
in this award, the authorized representative of the recipient must furnish a notice of disagreement to the EPA Award Official within 21 days after the EPA
award or amendment mailing date. In case of disagreement, and until the disagreement is resolved, the recipient should not draw down on the funds provided
by this award/amendment, and any costs incurred by the recipient are at its own risk. This agreement is subject to applicable EPA regulatory and statutory
provisions, all terms and conditions of this agreement and any attachments.

         ISSUING OFFICE (GRANTS MANAGEMENT OFFICE)                                                AWARD APPROVAL OFFICE
ORGANIZATION / ADDRESS                                                          ORGANIZATION / ADDRESS
Environmental Protection Agency, Grants Management & Business Operations        Environmental Protection Agency, OGGRF
Division                                                                        OA - Office of the Administrator
1200 Pennsylvania Ave, NW Mail code 3903R                                       1200 Pennsylvania Ave, NW
Washington, DC 20460                                                            Washington, DC 20460
                              THE UNITED STATES OF AMERICA BY THE U.S. ENVIRONMENTAL PROTECTION AGENCY
Digital signature applied by EPA Award Official Katherine Tsing-Choy - Associate Award Official                                                DATE
                                                                                                                                               12/20/2024
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                                              EPA Funding Information
              FUNDS                            FORMER AWARD                          THIS ACTION                      AMENDED TOTAL
EPA Amount This Action                           $ 6,970,000,000                               $0                          $ 6,970,000,000
EPA In-Kind Amount                                              $0                             $0                                      $0
Unexpended Prior Year Balance                                   $0                             $0                                      $0
Other Federal Funds                                             $0                             $0                                      $0
Recipient Contribution                                          $0                             $0                                      $0
State Contribution                                              $0                             $0                                      $0
Local Contribution                                              $0                             $0                                      $0
Other Contribution                                              $0                             $0                                      $0
Allowable Project Cost                           $ 6,970,000,000                               $0                          $ 6,970,000,000



Assistance Program (CFDA)                 Statutory Authority                           Regulatory Authority
66.957 - Greenhouse Gas Reduction Fund:   Clean Air Act: Sec. 134(a)(2) and (3)         2 CFR 200, 2 CFR 1500 and 40 CFR 33
National Clean Investment Fund
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Budget Summary Page
                                       Table A - Object Class Category                                Total Approved Allowable
                                             (Non-Construction)                                          Budget Period Cost
 1. Personnel                                                                                                              $ 89,871,170
 2. Fringe Benefits                                                                                                        $ 33,252,333
 3. Travel                                                                                                                   $ 4,697,854
 4. Equipment                                                                                                                         $0
 5. Supplies                                                                                                                 $ 1,080,080
 6. Contractual                                                                                                           $ 861,952,518
 7. Construction                                                                                                                      $0
 8. Other                                                                                                               $ 5,950,949,314
 9. Total Direct Charges                                                                                                $ 6,941,803,269
 10. Indirect Costs: 10.00 % Base de minimis MTDC                                                                          $ 28,196,731
 11. Total (Share: Recipient ______
                                0.00 % Federal ______
                                                100.00 %)                                                               $ 6,970,000,000
 12. Total Approved Assistance Amount                                                                                   $ 6,970,000,000
 13. Program Income                                                                                                       $ 315,000,000
 14. Total EPA Amount Awarded This Action                                                                                             $0
 15. Total EPA Amount Awarded To Date                                                                                   $ 6,970,000,000
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                                      Administrative Conditions
A. General Terms and Conditions

The Recipient agrees to comply with the current EPA general terms and conditions available at: https:
//www.epa.gov/grants/epa-general-terms-and-conditions-effective-october-1-2024-or-later. These terms
and conditions are in addition to the assurances and certifications made as a part of the award and the
terms, conditions, or restrictions cited throughout the award. The EPA repository for the general terms
and conditions by year can be found at: https://www.epa.gov/grants/grant-terms-and-conditions#general.

B. Correspondence Condition

The terms and conditions of this agreement require the submittal of reports, specific requests for
approval, or notifications to EPA. Unless otherwise noted, all such correspondence should be sent to the
following email addresses:

       Federal Financial Reports (SF-425):                          and EPA Grants Specialist listed on
       the award
       MBE/WBE reports (EPA Form 5700-52A): Debora Bradford                                       ,
                                     , and the EPA Grants Specialist listed on the award
       All other forms/certifications/assurances, Indirect Cost Rate Agreements, Requests for
       Extensions of the Budget and Project Period, Amendment Requests, Requests for other Prior
       Approvals, updates to Recipient information (including email addresses, changes in contact
       information or changes in authorized representatives) and other notifications: EPA Grants
       Specialist listed on the award and EPA Project Officer listed on the award
       Quality Assurance documents, workplan revisions, equipment lists, programmatic reports and
       deliverables: EPA Project Officer listed on the award

C. Intergovernmental Review Period

In accordance with 40 CFR Part 29, EPA must allow for an intergovernmental review comment period
when a Recipient or Subrecipient intends to provide Financial Assistance to Qualified Project(s) that
involves construction or land use planning. With the exception of Qualified Project(s) that will be carried
out in the State of California, the Recipient must ensure that directly affected State, areawide, regional,
and local government entities have 60 calendar days to review the description of the Qualified Project(s)
and provide comments to the EPA Project Officer. Qualified Project(s) that will be carried out in the State
of California must be submitted to the California Single Point of Contact at https://cfda.opr.ca.gov for
review as provided in California law.

EPA has allowed for an intergovernmental review comment period on behalf of the Recipient. This
comment period closed on Tuesday October 22, 2024. The Recipient need not take any additional action
with respect to intergovernmental review.

The Recipient agrees to comply with the provisions of 40 CFR Part 29, implementing the Demonstration
Cities, Metropolitan Development Act, the Intergovernmental Cooperation Act, and Executive Order
12372 as amended in 1983, to ensure that projects funded under federal programs are consistent with
local planning requirements.
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D. Pre-Award Costs

As provided in 2 CFR 200.458, Recipients are authorized to incur pre-award costs, which are costs that
would have been allowable if incurred after the date of the Federal award. For competitive grants, EPA
interprets the requirement in the regulation that pre-award costs be incurred “directly pursuant to the
negotiation and in anticipation of the Federal award” to limit allowable pre-award costs to those a
Recipient incurs after EPA has notified the Recipient that its application has been selected for award
consideration. The pre-award costs must be included in the workplan and budget to be eligible. As
provided in 2 CFR 1500.9, Recipients incur pre-award costs at their own risk. Please refer to Section I.C:
Pre-Award Costs of the Interim General Budget Development Guidance for Applicants and Recipients of
EPA Financial Assistance for additional information.

E. New Recipient Training Requirement

The Recipient agrees to complete the EPA Grants Management Training for Applicants and
Recipients and the How to Develop a Budget training within 90 calendar days of the date of award of this
agreement. The Recipient must notify the Grant Specialist via email when the required training is
complete. For additional information on this training requirement, the Recipient should refer to RAIN-
2024-G01.
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                                       Programmatic Conditions
National Clean Investment Fund (NCIF) Terms and Conditions (December 12, 2024)

I. DEFINITIONS

Acquisition of Intangible Property: 2 CFR 200.1 defines Intangible Property as “property having no
physical existence, such as trademarks, copyrights, data (including data licenses), websites, IP licenses,
trade secrets, patents, patent applications, and property such as loans, notes and other debt
instruments, lease agreements, stocks and other instruments of property ownership of either tangible or
intangible property, such as intellectual property, software, or software subscriptions or licenses.”
Acquisitions of Intangible Property involve the purchase of Intangible Property through procurement
contracts.

Air Pollutant: Air Pollutant means any air pollutant that is listed pursuant to Section 108(a) of the Clean
Air Act (or any precursor to such an air pollutant). This includes particulate matter, ozone, carbon
monoxide, sulfur dioxide, nitrogen dioxide, and lead (see 40 CFR Part 50) and their precursors (e.g.,
volatile organic compounds).

Award Agreement: Award Agreement means the set of legally binding documents between EPA and the
Recipient under the federal award. Award Agreement is used interchangeably with Assistance
Agreement and Notice of Award.

Apprentice: Apprentice means an individual working on a project receiving Financial Assistance who is
participating in a Registered Apprenticeship program under the National Apprenticeship Act that meets
the requirements of 29 CFR Parts 29 and 30.

Environmental Information: Environmental Information is defined in EPA's Environmental Information
Quality Policy. Environmental Information includes “data and information that describe environmental
processes or conditions which support EPA's mission of protecting human health and the environment.
Examples include but are not limited to: direct measurements of environmental parameters or processes;
analytical testing results of environmental conditions (e.g., geophysical or hydrological conditions);
information on physical parameters or processes collected using environmental technologies;
calculations or analyses of environmental information; information provided by models; information
compiled or obtained from databases, software applications, decision support tools, websites, existing
literature, and other sources; development of environmental software, tools, models, methods and
applications; and design, construction, and operation or application of environmental technology.”

Environmental Information Operations: Environmental Information Operations is defined in EPA's
Environmental Information Quality Policy. Environmental Information Operations means “[a] collective
term for work performed to collect, produce, evaluate, or use environmental information and the design,
construction, operation or application of environmental technology.”

EPA Award Official: EPA Award Official means the award official from the Office of Grants and
Debarment that is authorized to execute the Award Agreement, as well as any subsequent amendments
to the Award Agreement, and to make any other final determinations required by law or regulation on
behalf of the EPA.

EPA Project Officer: EPA Project Officer means the project officer from the Office of the Greenhouse
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Gas Reduction Fund that is assigned, along with the EPA Grants Specialist, to monitor the Recipient on
programmatic and technical aspects of the project and is typically authorized to make programmatic
approvals on behalf of the EPA. Where required, the Recipient must notify or request approval from the
EPA Project Officer through the EPA Project Officer's individual EPA email address as well as
                such that the Office of the Greenhouse Gas Reduction Fund may delegate an alternative
EPA Project Officer in the case of any absence.

Financial Assistance: Section 134(b)(1) of the Clean Air Act directs that the Recipient use funds for
“Financial Assistance.” Consistent with the definition of Federal financial assistance in 2 CFR 200.1,
Financial Assistance means financial products, including debt (such as loans, partially forgivable loans,
forgivable loans, zero-interest and below-market interest loans, loans paired with interest rate buydowns,
secured and unsecured loans, lines of credit, subordinated debt, warehouse lending, loan purchasing
programs, and other debt instruments), equity investments (such as equity project finance investments,
private equity investments, and other equity instruments), hybrids (such as mezzanine debt, preferred
equity, and other hybrid instruments), and credit enhancements (such as loan guarantees, loan
guarantee funds (whether full or partial), loan loss reserves, and other credit enhancement instruments).
Expenditures for Financial Assistance are in the form of Subawards (other than subgrants), Participant
Support Costs, or Acquisitions of Intangible Property, as defined in this Award Agreement. Subgrants are
not eligible as Financial Assistance. The characterization of a Financial Assistance transaction as a
Subaward, Participant Support Cost, or Acquisition of Intangible Property is limited to the transaction. For
example, the same entity may be a Subrecipient for one transaction and a Program Beneficiary or a
Contractor for another transaction.

Freely Associated States: Freely Associated States means the Republic of the Marshall Islands (the
Marshalls), the Federated States of Micronesia (FSM), and the Republic of Palau (Palau).

Greenhouse Gas: Greenhouse Gas means carbon dioxide, hydrofluorocarbons, methane, nitrous oxide,
perfluorocarbons, and sulfur hexafluoride, as defined in Section 134(c)(2) of the Clean Air Act.
Greenhouse Gas Emissions mean emissions of Greenhouse Gases.

Low-Income and Disadvantaged Communities: Section 134(a)(3) of the Clean Air Act appropriates funds
“for the purposes of providing financial assistance and technical assistance in low-income and
disadvantaged communities.” Low-Income and Disadvantaged Communities means CEJST-Identified
Disadvantaged Communities, EJScreen-Identified Disadvantaged Communities, Geographically
Dispersed Low-Income Households, Properties Providing Affordable Housing, and Federally Recognized
Tribal Entities, as defined below.

       CEJST-Identified Disadvantaged Communities: All communities identified as disadvantaged
       through version 1.0 of the Climate and Economic Justice Screening Tool (CEJST), released on
       November 22, 2022, which includes census tracts that meet the thresholds for at least one of the
       tool's categories of burden and land within the boundaries of Federally Recognized Tribes.
       EJScreen-Identified Disadvantaged Communities: All communities within version 2.3 of EJScreen
       that fall within either (a) the limited supplemental set of census block groups that are at or above
       the 90th percentile for any of EJScreen's supplemental indexes when compared to the nation or
       state or (b) geographic areas within Tribal lands as included in EJScreen, which includes the
       following Tribal lands: Alaska Native Allotments, Alaska Native Villages, American Indian
       Reservations, American Indian Off-reservation Trust Lands, and Oklahoma Tribal Statistical
       Areas.
       Geographically Dispersed Low-Income Households: Low-income individuals and households
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       living in Metropolitan Areas with incomes not more than 80% AMI or 200% FPL (whichever is
       higher), and low-income individuals and households living in Non-Metropolitan Areas with
       incomes not more than 80% AMI, 200% FPL, or 80% Statewide Non-Metropolitan Area AMI
       (whichever is highest). Federal Poverty Level (FPL) is defined using the latest publicly available
       figures from the U.S. Department of Health and Human Services. Area Median Income (AMI) is
       defined using the latest publicly available figures from the U.S. Department of Housing and Urban
       Development (HUD). Metropolitan Area and Non-Metropolitan Area are defined using the latest
       publicly available figures for county-level designations from the Office of Management and
       Budget. Statewide Non-Metropolitan Area AMI is defined using the latest publicly available
       figures from the U.S. Department of the Treasury's CDFI Fund, with an adjustment for household
       size using HUD's Family Size Adjustment factor.
       Properties Providing Affordable Housing: Properties providing affordable housing that fall within
       either of the following two categories: (a) multifamily housing with rents not exceeding 30% of
       80% AMI for at least half of residential units and with an active affordability covenant from one of
       the following housing assistance programs: (1) Low-Income Housing Tax Credit; (2) a housing
       assistance program administered by HUD, including Public Housing, Section 8 Project-Based
       Rental Assistance, Section 202 Housing for the Elderly, Section 811 Housing for Disabled,
       Housing Trust Fund, Home Investment Partnership Program Affordable Rental and Homeowner
       Units, Permanent Supportive Housing, and other programs focused on ending homelessness that
       are funded under HUD's Continuum of Care Program; (3) a housing assistance program
       administered by USDA under Title V of the Housing Act of 1949, including under Sections 514
       and 515; (4) a housing assistance program administered by a tribally designated housing entity,
       as defined in Section 4(22) of the Native American Housing Assistance and Self-Determination
       Act of 1996 (25 USC § 4103(22)); or (5) a housing assistance program administered by the
       Department of Hawaiian Homelands as defined in Title VIII of the Native American Housing
       Assistance and Self-Determination Act of 1996 (24 CFR 1006.10) or (b) naturally-occurring
       (unsubsidized) affordable housing with rents not exceeding 30% of 80% AMI for at least half of
       residential units.
       Federally Recognized Tribal Entities: All Federally Recognized Tribal entities, which are
       considered disadvantaged regardless of whether a Federally Recognized Tribe has land,
       consistent with M-23-09 (memorandum dated as of January 27, 2023) and CEJST. A “Federally
       Recognized Tribal Entity” means (i) any individual member of a Federally Recognized Tribe; (ii)
       any for-profit business that has at least 51 percent of its equity ownership (or the equivalent in
       limited liability companies) by members of Federally Recognized Tribes; (iii) any non-profit entity
       with at least 51 percent of its Board of Directors (i.e., Governing Board) comprised of members of
       Federally Recognized Tribes; or (iv) any Federally Recognized Tribal government entity. Under
       this definition, any Federally Recognized Tribal Entity is included within the definition of Low-
       Income and Disadvantaged Communities, regardless of where that entity is located (i.e., the
       entity may be located in areas outside of the CEJST land area dataset, including but not limited to
       tribal service areas or counties).

Market-Building Activities: Market-Building Activities means activities that meet all three of the following
criteria: (1) build the market for financeable Qualified Projects, (2) are not tied directly to Qualified
Projects the Recipient intends to finance, and (3) are necessary and reasonable for the deployment of
Financial Assistance to Qualified Projects.

Materially Impaired: For the definition and application of these terms under this Assistance Agreement (e.
g. the Clarifications to EPA General Terms and Conditions) and any associated legal documentation
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related to the Assistance Agreement, note that EPA defines “Materially Impaired” in the context of
effective performance of the Assistance Agreement as 1) the issuance of a written determination and
finding from EPA that the Recipient has failed to achieve sufficient progress in accordance with the
Sufficient Progress clause under the Clarifications to EPA General Terms and Conditions Programmatic
Term and Condition and 2) if EPA in its sole discretion determines that a corrective action plan is an
appropriate means of remedying the lack of sufficient progress, the subsequent issuance of a separate
written determination and finding from EPA that the Recipient has not materially addressed its failure to
achieve sufficient progress after implementing a corrective action plan concurred on by the EPA Project
Officer and approved by the Award Official or Grants Management Officer pursuant to 2 CFR 200.208.

Named Subrecipient: Named Subrecipient means an entity that is named on the workplan in effect under
this Assistance Agreement to receive a Subaward in the form of a Subgrant from the Recipient in order
to carry out part of the award.

Participant Support Costs: 2 CFR 200.1 defines Participant Support Costs as “direct costs that support
participants (see definition for Participant in § 200.1) and their involvement in a Federal award, such as
stipends, subsistence allowances, travel allowances, registration fees, temporary dependent care, and
per diem paid directly to or on behalf of participants.” EPA regulations at 2 CFR 1500.1(a)(1) expand the
definition of Participant Support Costs to include “subsidies, rebates, and other payments to program
beneficiaries to encourage participation in statutorily authorized environmental stewardship programs,”
which includes the Greenhouse Gas Reduction Fund. In this program, Participant Support Costs may
include expenditures by the Recipient as Predevelopment Activities, Market-Building Activities, and
Program Administration Activities (which may include subsidies, rebates, and other payments) as well as
Financial Assistance to Qualified Projects.

Period of Closeout: Period of Closeout means the time interval between the beginning of the closeout
period (the date that the award has been closed out, in accordance with 2 CFR 200.344) to the end of
the closeout period (the date that the Closeout Agreement has been terminated). The Period of Closeout
may also be referred to as the Closeout Period.

Period of Performance: 2 CFR 200.1 defines Period of Performance as “the total estimated time interval
between the start of an initial Federal award and the planned end date, which may include one or more
funded portions, or budget periods.” For the purposes of this Award Agreement, the Period of
Performance means the time interval between the start of the Federal award (either the first date that the
Recipient has incurred allowable pre-award costs or the date on the Notice of Award, whichever is
earlier) and the end of the Federal award (the date that the award has been closed out, in accordance
with 2 CFR 200.344). The Period of Performance may also be referred to as the Performance Period.

Post-Closeout Program Income: Post-Closeout Program Income means Program Income retained at the
end of the Period of Performance, which is subject to the terms and conditions of the Closeout
Agreement, as well as Program Income earned by the Recipient during the Period of Closeout that is
directly generated by a supported activity or earned as a result of the Federal award, which is also
subject to the terms and conditions of the Closeout Agreement. Under the Closeout Agreement, the
Recipient is authorized to deduct the cost of generating Post-Closeout Program Income under 2 CFR
200.307(d) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary for performance
under the federal award and the costs are not charged to the EPA award. Costs incidental to the
generation of Post-Closeout Program Income include origination, servicing, and management costs that
are not charged as direct costs to the Federal award or to Post Closeout Program Income. Costs of
generating Post-Closeout Program Income can be incurred in advance of receiving the gross income,
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with the Recipient incurring the costs and later using gross income to reimburse itself for no more than
the actual costs incurred to generate the Post-Closeout Program Income, provided the Recipient can
account for the actual costs incurred.

Predevelopment Activities: Predevelopment Activities means activities that meet all three of the following
criteria: (1) improve the likelihood of the Recipient financing Qualified Projects, (2) are tied directly to
Qualified Projects the Recipient intends to finance, and (3) are necessary and reasonable for the
Recipient to deploy Financial Assistance to Qualified
Projects.


Priority Project Categories: Priority Project Categories means Distributed Energy Generation and
Storage, Net-Zero Emissions Buildings, and Zero-Emissions Transportation, as defined below.

       Distributed Energy Generation and Storage: Projects, activities, and technologies that deploy
       small-scale power generation and/or storage technologies (typically from 1 kW to 10,000 kW),
       plus enabling infrastructure necessary for deployment of such generation and/or storage
       technologies. Projects, activities, and technologies within this category must support carbon
       pollution-free electricity, which is electrical energy produced from resources that generate no
       carbon emissions, consistent with the definition specified in Executive Order 14057 (Catalyzing
       Clean Energy Industries and Jobs Through Federal Sustainability).
       Net-Zero Emissions Buildings: Projects, activities, and technologies that either (1) retrofit an
       existing building, making a substantial contribution to that building being a net-zero emissions
       building and as part of a plan for that building achieving net-zero emissions over time, or (2)
       construct a new net-zero emissions building in a Low-Income and Disadvantaged Community. A
       net-zero emissions building is a building that meets the requirements of Version 1 of the National
       Definition for a Zero Emissions Building (June 2024).
       Zero-Emissions Transportation: Projects, activities, and technologies that deploy zero-emissions
       transportation modes, plus enabling infrastructure necessary for zero-emissions transportation
       modes—especially in communities that are overburdened by existing diesel pollution, particulate
       matter concentration, and degraded air quality. Projects, activities, and technologies within this
       category must be consistent with the zero-emissions transportation decarbonization strategies in
       The U.S. National Blueprint for Transportation Decarbonization.

Program Administration Activities: Program Administration Activities means activities that support
administration of the grant program, to the extent such activities meet the requirements for allowability
under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500. Program
Administration Activities include but are not limited to establishing and convening advisory councils, as
described in Item 2 of EPA's Guidance on Selected Items of Cost for Recipients, and fund raising, as
described in Item 4 of EPA's Guidance on Selected Items of Cost for Recipients.

Program Beneficiary: Program Beneficiary means an entity (either an individual or an organization) that
receives Financial Assistance or technical assistance as an end-user, except when such Financial
Assistance is characterized as an Acquisition of Intangible Property (in which case the entity is a
Contractor, as defined in 2 CFR 200.1). Expenditures to Program Beneficiaries are in the form of
Participant Support Costs, as defined in 2 CFR 1500.1. A Program Beneficiary is distinct from a
Subrecipient, as defined in 2 CFR 200.1.
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Program Income: 2 CFR 200.1 defines Program Income as “gross income earned by the recipient or
subrecipient that is directly generated by a supported activity or earned as a result of the Federal award
during the period of performance except as provided in § 200.307(c)”. 2 CFR 200.1 notes that Program
Income “includes but is not limited to income from fees for services performed, the use or rental or real or
personal property acquired under Federal awards, the sale of commodities or items fabricated under a
Federal award, license fees and royalties on patents and copyrights, and principal and interest on loans
made with Federal award funds.” For this program, Program Income also includes but is not limited to
income from origination fees, servicing fees, and asset management fees; dividends from equity
investments; revenue from asset sales; release of grant funds previously used as Financial Assistance
(such as through loan guarantees, loan loss reserves, or similar transactions); interest and other
earnings on disbursements of grant funds that have not been transferred to third parties; and funds
raised with costs charged against the grant award (such as private debt, philanthropic contributions, and
other funds raised). Program Income must be treated in accordance with the Program Income
Programmatic Term and Condition. EPA-specific rules on Program Income are provided at 2 CFR
1500.8, and rules on allowable fund raising costs are provided under 2 CFR 200.442 (with additional
details in Item 4 of the EPA Guidance on Selected Items of Cost for Recipients). Under this award
agreement, the Recipient is authorized to deduct the cost of generating program income under 2 CFR
200.307(d) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary for performance
under the federal award and the costs are not charged to the EPA award. Costs incidental to the
generation of program income include origination, servicing, and management costs that are not charged
as direct costs to the Federal award or to Program Income. Costs of generating program income can be
incurred in advance of receiving the gross income, with the Recipient incurring the costs and later using
gross income to reimburse itself for no more than the actual costs incurred to generate the program
income, provided the Recipient can account for the actual costs incurred. Program Income requirements
flow down to Subrecipients but not to Contractors or Program Beneficiaries.

Qualified Project: Section 134(c)(3) of the Clean Air Act provides that a Qualified Project is any project,
activity, or technology that (A) reduces or avoids greenhouse gas emissions and other forms of air
pollution in partnership with, and by leveraging investment from, the private sector; or (B) assists
communities in the efforts of those communities to reduce or avoid greenhouse gas emissions and other
forms of air pollution. For this Assistance Agreement, Qualified Project means any project, activity or
technology meeting all six requirements listed below at the time that Financial Assistance is provided to
the project, activity, or technology:

       The project, activity, or technology would reduce or avoid Greenhouse Gas Emissions, consistent
       with the climate goals of the United States to reduce Greenhouse Gas Emissions 50-52 percent
       below 2005 levels in 2030, reach 50 percent zero-emission vehicles share of all new passenger
       cars and light trucks sold in 2030, achieve a carbon pollution-free electricity sector by 2035, and
       achieve net-zero emissions by no later than 2050. The project, activity, or technology may reduce
       or avoid such emissions through its own performance or through assisting communities in their
       efforts to deploy projects, activities, or technologies that reduce or avoid such emissions.
       The project, activity, or technology would reduce or avoid emissions of other Air Pollutants. The
       project, activity, or technology may reduce or avoid such emissions through its own performance
       or through assisting communities in their efforts to deploy projects, activities, or technologies that
       reduce or avoid such emissions.
       The project, activity, or technology would deliver additional benefits (i.e., in addition to primarily
       reducing or avoiding emissions of greenhouse gases and other Air Pollutants) to communities
       within one or more of the following seven categories: climate change; clean energy and energy
       efficiency; clean transportation; affordable and sustainable housing; training and workforce
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       development; remediation and reduction of legacy pollution; and development of critical clean
       water infrastructure.
       The project, activity, or technology may not have otherwise been financed.
       The project, activity, or technology would mobilize private capital.
       The project, activity, or technology would support only commercial technologies, defined as
       technologies that have been deployed for commercial purposes at least three times for a period
       of at least five years each in the United States for the same general purpose as the project,
       activity, or technology.

Senior Management: Senior Management means the chief executive officer, chief risk officer, general
counsel, chief compliance officer, chief investment officer, chief reporting officer, and chief financial
officer (or equivalent positions).

Subaward: 2 CFR 200.1 defines a Subaward as “an award provided by a pass-through entity to a
subrecipient for the subrecipient to contribute to the goals and objectives of the project by carrying out
part of a Federal award received by the pass-through entity. It does not include payments to a contractor,
beneficiary, or participant”. A Subgrant refers to a Subaward in the form of a grant.

Subrecipient: Consistent with 2 CFR 200.1, Subrecipient means an entity that receives a Subaward from
a pass-through entity to carry out part of a Federal award but does not include an entity that is a Program
Beneficiary of such an award. A Subrecipient is distinct from a Program Beneficiary, which is referenced
in 2 CFR 1500.1. In this program, there are three main types of Subrecipients: (1) a Subrecipient that
receives a Subgrant that will be used, either in whole or in part, to provide Financial Assistance to
Qualified Projects, or a “Financial Assistance Subrecipient”; (2) a Subrecipient that receives a Subgrant
that will be used exclusively for Predevelopment Activities, Market-Building Activities, and/or Program
Administration Activities, or a “Technical Assistance Subrecipient”; and (3) a Subrecipient that receives
Financial Assistance in the form of a Subaward, with the Subrecipient then using the Subaward to
provide Financial Assistance to Qualified Projects, or a “Financial Intermediary Subrecipient”. In
accordance with 2 CFR 200.332, each Subrecipient is accountable to the Recipient for proper use of
EPA funding. Note that a financial transaction is a Subaward to a Financial Intermediary Subrecipient if
the following two characteristics are true: (i) the financial transaction provides an award by a pass-
through entity to a Subrecipient through a form of Federal financial assistance, other than a grant, and (ii)
the proceeds of the award are used directly as Financial Assistance to Qualified Projects, carrying out
part of a Federal award received by the pass-through entity.

The EPA Subaward Policy applies to Subgrants made to Financial Assistance Subrecipients and
Technical Assistance Subrecipients, including but not limited to Named Subrecipients. However, the EPA
Subaward Policy does not apply to Subawards made to Financial Intermediary Subrecipients.

Waste, Fraud, or Abuse: For the definition and application of these terms under this Assistance
Agreement (e.g. the Financial Risk Management Requirements, Clarifications to EPA General Terms
and Conditions, and Financial Agent Terms and Conditions) and any associated legal documentation
related to the Assistance Agreement, refer to their use in the Reporting Waste, Fraud, and Abuse clause
in the EPA General Terms and Conditions effective October 1, 2024 and 2 CFR 200.113: “credible
evidence of the commission of a violation of Federal criminal law involving fraud, conflict of interest,
bribery, or gratuity violations found in Title 18 of the United States Code or a violation of the civil False
Claims Act 31 U.S.C. 3729-3733.”
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II. NATIONAL PROGRAMMATIC TERMS AND CONDITIONS

A. Performance Reporting

In accordance with 2 CFR 200.329 and 2 CFR 200.337, the Recipient agrees to the following four
requirements of performance reporting: (1) progress reports, (2) transaction and-project level report , (3)
organizational disclosures, and (4) ongoing disclosures. These performance reporting requirements
“flow-down” as needed to enable the Recipient to comply with the requirements described in this term
and condition. The Recipient must ensure that these reports cover its own grant-related activities, and
where applicable to a certain performance report or element of a performance report, the grant-related
activities of its Subrecipients, Contractors, and/or Program Beneficiaries. To comply with these
performance reporting requirements, the Recipient agrees to use information collection instruments
authorized by GGRF Accomplishment Reporting (
             ), once such instruments are authorized; to the extent that information is not available for
transactions that were closed prior to authorization of these instruments, the Recipient will not be out of
compliance with the performance reporting requirements.

The Recipient agrees to have its chief executive officer (or equivalent) and chief reporting officer (or
equivalent) review, sign, and submit performance reporting electronically to the EPA Project Officer. To
the extent it is known, or should have been known, by the chief executive officer (or equivalent) and chief
reporting officer (or equivalent) that the reporting is not materially compliant with the terms and
conditions, or demonstrates material noncompliance with the terms and conditions, the chief executive
officer (or equivalent) and chief reporting officer (or equivalent) must note such noncompliance to the
EPA Project Officer alongside the submission. Should the chief executive officer (or equivalent) and chief
reporting officer (or equivalent) signing the submission knowingly and willfully make any material false
statement, they may be subject to criminal prosecution under 18 U.S.C. 1001 and/or other civil and
administrative sanctions.

EPA intends to make performance reporting information available to the public, either in whole or in part,
through disclosing copies of the reports as submitted or using the content of the reports to prepare EPA
reporting documents. Pursuant to 2 CFR 200.338, the Recipient agrees to redact personally identifiable
information (PII) and mark confidential business information (CBI) prior to submission to EPA.
Information claimed as CBI will be disclosed only to the extent, and by means of the procedures, set forth
in 40 CFR Part 2, Subpart B. As provided at 40 CFR 2.203(b), if no claim of confidential treatment
accompanies the information when it is received by EPA, it may be made available to the public by EPA
without further notice to the Recipient. Recipient agrees that submitted information that does not include
PII or CBI may be shared for program evaluation purposes, including with third parties.

The EPA Project Officer may extend the due date for performance reporting requirements to the extent
authorized by 2 CFR 200.329 and 2 CFR 200.344. On a case-by-case basis, the EPA Project Officer
may waive or modify performance reporting requirements to the extent authorized by 2 CFR 200.329 and
2 CFR 200.344. Notwithstanding any other provision of this Assistance Agreement, if Recipient's inability
to submit the required performance reporting is due to issues with EPA systems, the Recipient shall be
granted a reasonable extension to submit the reports after the technical issue has been corrected.

Where applicable, the intervals for reporting are authorized by 2 CFR 200.329(c)(1), as more frequent
reporting is necessary for the effective monitoring of the Federal award and could significantly affect
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program outcomes.

1. Progress Reports

Semi-Annual Report

The Recipient agrees to submit semi-annual reports covering six months of the calendar year in
accordance with information collection instruments approved through GGRF Accomplishment Reporting
(                                                               ). A single semi-annual report must be
submitted to cover grant-related activities of the Recipient and its Subrecipients as well as the grant-
related activities of its Contractors and/or Program Beneficiaries where applicable to a certain element of
the semi-annual report.

The Recipient agrees to submit semi-annual reports electronically to the EPA Project Officer within 30
calendar days after the semi-annual reporting period ends. The Recipient may submit a request to the
EPA Project Officer for a permanent extension to 60 calendar days. A request may be made once, and it
must include (i) an explanation of the Recipient's unique circumstance as to why they need the
extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar days after the semi-
annual reporting period ends); and (iii) the duration of the extension (i.e., up to the remainder of the
Period of Performance).

The semi-annual reporting periods are as follows: July 1 to December 31; January 1 to June 30. The first
semi-annual reporting period ends on December 31 and covers all activities beginning on the first day of
the Period of Performance.

Annual Report

The Recipient agrees to submit annual reports that contain detailed narratives describing program
performance over the Recipient's fiscal year, supported with qualitative discussions and quantitative
metrics. A single annual report must be submitted to cover grant-related activities of the Recipient and its
Subrecipients as well as the grant-related activities of its Contractors and/or Program Beneficiaries
where applicable to a certain element of the annual report.

The Recipient must include the following broad, non-exhaustive elements in its annual reports:

       Progress towards objectives on key performance metrics over the reporting period,
       Summary of key activities completed in the reporting period, including case studies across
       different types of Financial Assistance to Qualified Projects,
       Geographic coverage of Financial Assistance to Qualified Projects made in the reporting period,
       Descriptions and examples of actions taken to meaningfully involve the communities the program
       serves in program design and operations,
       Case studies of different types of Market-Building and/or Predevelopment Activities, and
       Plans for key activities (including anonymized current transaction pipeline) to be completed as
       well as outputs and outcomes to be achieved in the next reporting period.


These reports must be submitted ready to be published on the EPA website for public consumption and
must not include any material that the Recipient considers to be Confidential Business Information (CBI)
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or Personal Identifiable Information (PII). All reports will undergo an EPA review process to verify that
there is no PII or claims of CBI. Should EPA identify PII or claims of CBI in reports, the EPA Project
Officer will require that the Recipient re-submit the report without the PII or claims of CBI so that it can be
published without redaction.

The Recipient agrees to submit annual reports electronically to the EPA Project Officer within 90
calendar days after the Recipient's fiscal year end date. The first annual report is due 90 calendar days
after the Recipient's fiscal year that ends in 2025.

Final Report

The Recipient agrees to submit a final report containing two documents. First, the recipient must submit
a report containing all of the elements described above for the annual report, covering the entire Period
of Performance and overall assessment of its program performance and implementation of its workplan
in effect under this Assistance Agreement. Second, the recipient must submit its investment strategy for
the Closeout Period to detail its use of Post-Closeout Program Income over the Closeout Period. EPA
intends to make the investment strategy, either in whole or in part, available to the public through
disclosing copies of the investment strategy as submitted or using the content of the investment strategy.
Pursuant to 2 CFR 200.338, the Recipient agrees to redact personally identifiable information (PII) and
mark confidential business information (CBI) accordingly. Information claimed as CBI will be disclosed
only to the extent, and by means of the procedures, set forth in 40 CFR Part 2, Subpart B. As provided at
40 CFR 2.203(b), if no claim of confidential treatment accompanies the information when it is received by
EPA, it may be made available to the public by EPA without further notice to the Recipient.

The two documents for the final report must be submitted to cover the grant-related activities of the
Recipient and its Subrecipients as well as the grant-related activities of its Contractors and/or Program
Beneficiaries where applicable to a certain element of the final report.

The Recipient agrees to submit the two documents for the final report electronically to the EPA Project
Officer no later than 120 calendar days after the end date of the Period of Performance.

2. Transaction and Project-Level Report

The Recipient agrees to submit quarterly transaction and project-level reporting in accordance with
information collection instruments approved through GGRF Accomplishment Reporting (
                                                      ). The data submission must cover the grant-related
activities of the Recipient and its Subrecipients as well as the grant-related activities of its Contractors
and/or Program Beneficiaries where applicable to a certain element of the data submission.

The Recipient agrees to submit the transaction and project-level report electronically to the EPA Project
Officer within 30 calendar days after the quarterly reporting period ends. The Recipient may submit a
request to the EPA Project Officer for a permanent extension to 60 calendar days. A request may be
made once, and it must include (i) an explanation of the Recipient's unique circumstance as to why they
need the extension; (ii) the length of the extension (i.e., up to but not more than 60 calendar days after
the quarterly reporting period ends); and (iii) the duration of the extension (i.e., up to the remainder of the
Period of Performance).

The four quarterly reporting periods for data submission are as follows: July 1 to September 30; October
1 to December 31; January 1 to March 31; and April 1 to June 30. The data submissions must cover
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transactions originated in the preceding quarter. For the quarterly reporting period that ends September
30, the Recipient must provide information on transactions originated from April 1 to June 30 rather than
from July 1 to September 30. For the quarterly reporting period that ends December 31, the Recipient
must provide information on transactions originated from July 1 to September 30 rather than October 1 to
December 31. For the quarterly reporting period that ends March 31, the Recipient must provide
information on transactions originated from October 1 to December 31 rather than January 1 to March
31. For the quarterly reporting period that ends June 30, the Recipient must provide information on
transactions originated from January 1 to March 31 rather than April 1 to June 30. The first transaction
and project-level report is due 30 calendar days after December 31, 2024 and must cover all transactions
originated from the beginning of the Performance Period through September 30, 2024.

3. Organizational Disclosures

The Recipient agrees to submit annual organizational disclosures electronically to the EPA Project
Officer within 30 calendar days after submission of its Single Audit to the Federal Audit Clearinghouse's
Internet Data Entry System. The organizational disclosures must cover the Recipient's fiscal year and be
submitted in accordance with information collection instruments approved through GGRF
Accomplishment Reporting (                                                                  ). Additionally,
the Recipient agrees to submit such organizational disclosures for each Financial Assistance
Subrecipient that has received in excess of $10,000,000 in NCIF subgrants to provide Financial
Assistance to Qualified Projects under the National Clean Investment Fund (to be delivered within 30
calendar days after submission of the Subrecipient's Single Audit to the Federal Audit Clearinghouse's
Internet Data Entry System). The requirement for organizational disclosures is not applicable for any
fiscal year in which the reporting entity did not meet the requirements of 2 CFR Subpart F—Audit
Requirements. The first Organizational Disclosures are due in 2025.

4. Ongoing Disclosures

In addition to other ongoing disclosure obligations within the regulations and terms and conditions of this
Award Agreement, the Recipient agrees to notify the EPA Project Officer of the following events in
accordance with 2 CFR 200.329(e):

       1. Changes to the Recipient's independent certified public accounting firm;

       2. Non-reliance by the Recipient or its independent auditor on previously issued financial
       statements or a related audit report or completed interim audit review;

       3. Changes in fiscal year end of the Recipient;

       4. Material impairments to the Recipient's assets;

       5. Intention to file bankruptcy petition or enter into receivership;

       6. Submission of annual Form 990 to the IRS, with provision of copy to EPA Project Officer upon
       request (only if submission of the Form 990 is otherwise required).

Additionally, the Recipient agrees to submit such ongoing disclosures for each Financial Assistance
Subrecipient that has received in excess of $10,000,000 to provide Financial Assistance to Qualified
Projects under the National Clean Investment Fund. The Recipient agrees to submit ongoing disclosures
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electronically to the EPA Project Officer within 15 calendar days of the event.

B. Cybersecurity Condition

(a) The Recipient agrees that when collecting and managing environmental data under this Assistance
Agreement, it will protect the data by following all applicable State or Tribal law cybersecurity
requirements.

(b) (1) EPA must ensure that any connections between the Recipient's network or information system
and EPA networks used by the Recipient to transfer data under this agreement are secure. For purposes
of this Section, a connection is defined as a dedicated persistent interface between an Agency IT system
and an external IT system for the purpose of transferring information. Transitory, user-controlled
connections such as website browsing are excluded from this definition.

If the Recipient's connections as defined above do not go through the Environmental Information
Exchange Network or EPA's Central Data Exchange, the Recipient agrees to contact the EPA Project
Officer no later than 90 calendar days after the date of this award and work with the designated
Regional/Headquarters Information Security Officer to ensure that the connections meet EPA security
requirements, including entering into Interconnection Service Agreements as appropriate. This condition
does not apply to manual entry of data by the Recipient into systems operated and used by EPA's
regulatory programs for the submission of reporting and/or compliance data.

(2) The Recipient agrees that any Subawards it makes under this agreement will require the Subrecipient
to comply with the requirements in (b)(1) if the Subrecipient's network or information system is connected
to EPA networks to transfer data to the Agency using systems other than the Environmental Information
Exchange Network or EPA's Central Data Exchange. The Recipient will be in compliance with this
condition: by including this requirement in Subaward Agreements and, during Subrecipient monitoring
deemed necessary by the Recipient under 2 CFR 200.332(e), by inquiring whether the Subrecipient has
contacted the EPA Project Officer. Nothing in this condition requires the Recipient to contact the EPA
Project Officer on behalf of a Subrecipient or to be involved in the negotiation of an Interconnection
Service Agreement between the Subrecipient and EPA.

C. Competency Policy

In accordance with Agency Policy Directive Number FEM-2012-02, Policy to Assure the Competency of
Organizations Generating Environmental Measurement Data under Agency-Funded Assistance
Agreements, the Recipient agrees, by entering into this agreement, that it has demonstrated competency
prior to award, or alternatively, where a pre-award demonstration of competency is not practicable, the
Recipient agrees to demonstrate competency prior to carrying out any activities under the award
involving the generation or use of environmental data. The Recipient shall maintain competency for the
duration of the project period of this agreement and this will be documented during the annual reporting
process. A copy of the Policy is available online at https://www.epa.gov/sites/production/files/2015-
03/documents/competency-policy-aaia-new.pdf or a copy may also be requested by contacting the EPA
Project Officer for this award.

D. Public or Media Events

For public or media events that are planned more than 15 calendar days in advance, the Recipient
agrees to notify the EPA Project Officer of public or media events it has organized publicizing the
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accomplishment of significant activities related to execution of the workplan in effect under this
Assistance Agreement and provide the opportunity for attendance and participation by federal
representatives with at least 15 calendar days' notice.

E. Geospatial Data Standards

All geospatial data created must be consistent with Federal Geographic Data Committee (FGDC)
endorsed standards. Information on these standards may be found at https://www.fgdc.gov/.

F. Leveraging and Fund Raising

1. Leveraging

The Recipient agrees to make commercially reasonable efforts to provide the proposed leveraged
funding that is described in its workplan in effect under this Assistance Agreement. If the proposed
leveraging does not substantially materialize during the Period of Performance, and the Recipient does
not provide a satisfactory explanation, the Agency may consider this factor in evaluating future grant
applications from the Recipient. In addition, if the proposed leveraging does not substantially materialize
during the Period of Performance and the Recipient does not provide a satisfactory explanation, then
EPA may reconsider the legitimacy of the award; if EPA determines that the Recipient knowingly or
recklessly provided inaccurate information regarding the leveraged funding described in the workplan in
effect under this Assistance Agreement, EPA may take action as authorized by 2 CFR Part 200 and/or 2
CFR Part 180 as applicable.

2. Fund Raising

2 CFR 200.442 provides coverage on allowable fund-raising costs, with additional details contained in
Item 4 of the EPA Guidance on Selected Items of Cost for Recipients. Fund raising costs are an
allowable cost and may include costs that are reasonable and necessary for raising capital from private
investors to provide Financial Assistance to Qualified Projects.

Allowable fund-raising costs must meet the following two criteria, in addition to meeting the requirements
for allowability under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500: (1)
must be in support of the Greenhouse Gas Reduction Fund's third program objective to mobilize
financing and private capital and (2) must be reasonable and necessary to raise capital from private
investors. Funds a Recipient raises for its own use with costs borne by an EPA Financial Assistance
Agreement are considered Program Income, which must be treated in accordance with the Program
Income Programmatic Term and Condition. When fund raising costs are paid for by both the award as
well as other sources, a portion of the funds raised equal to the share of fund-raising costs charged to
the award will be treated as Program Income.

G. Quality Assurance

Authority: Quality Assurance applies to all assistance agreements involving Environmental Information as
defined in 2 C.F.R. § 1500.12 Quality Assurance.

The recipient shall ensure that subawards involving Environmental Information issued under this
agreement include appropriate quality requirements for the work. The recipient shall ensure sub-award
recipients develop and implement Quality Assurance (QA) planning documents in accordance with this
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term and condition; and/or ensure sub-award recipients implement all applicable approved QA planning
documents. EPA will not approve any QA planning documents developed by a Subrecipient; the
Recipient is responsible for reviewing and approving its Subrecipient QA planning document(s), if
required based on the Subrecipient's Environmental Information Operations.

1. Quality Management Plan (QMP)

Prior to beginning Environmental Information Operations necessary to comply with the requirements
specified in the Performance Reporting Programmatic Term and Condition, the recipient must: (i)
develop a QMP, (ii) prepare the QMP in accordance with the current version of EPA's Quality
Management Plan (QMP) Standard and submit the document for EPA review, and (iii) obtain EPA
Quality Assurance Manager or designee (hereafter referred to as QAM) approval. Alternatively, the
Recipient may (i) submit a previously EPA-approved and current QMP and (ii) the EPA Quality
Assurance Manager or designee (hereafter referred to as QAM) will notify the Recipient and EPA Project
Officer (PO) in writing if the QMP is acceptable for this agreement.

The Recipient must submit the QMP within 90 calendar days after grant award, unless the Recipient
requests an extension(s) that is granted by the QAM.

The Recipient must review their approved QMP at least annually. These documented reviews shall be
made available to the sponsoring EPA organization if requested. When necessary, the Recipient shall
revise its QMP to incorporate minor changes and notify the EPA PO and QAM of the changes. If
significant changes have been made to the Quality Program that affect the performance of environmental
information operations, it may be necessary to re-submit the entire QMP for re-approval. In general, a
copy of any QMP revision(s) made during the year should be submitted to the EPA PO and QAM in
writing when such changes occur. Conditions requiring the revision and resubmittal of an approved QMP
can be found in section 6 of EPA's Quality Management Plan (QMP) Standard.

2. Quality Assurance Project Plan (QAPP)

Prior to beginning Environmental Information Operations necessary to comply with the requirements
specified in the Performance Reporting Programmatic Term and Condition, the Recipient must: (i)
develop a QAPP, (ii) prepare the QAPP in accordance with the current version of EPA's Quality
Assurance Project Plan (QAPP) Standard, (iii) submit the document for EPA review, and (iv) obtain EPA
Quality Assurance Manager or designee (hereafter referred to as QAM) approval. Alternatively, the
Recipient may (i) submit a previously EPA-approved QAPP proposed to ensure the collected, produced,
evaluated, or used environmental information is of known and documented quality for the intended use(s)
and (ii) the EPA Quality Assurance Manager or designee (hereafter referred to as QAM) will notify the
recipient and EPA Project Officer (PO) in writing if the previously EPA-approved QAPP is acceptable for
this agreement.

The Recipient must submit the QAPP within 90 calendar days after grant award, unless the Recipient
requests an extension(s) that is granted by the QAM.

The Recipient must notify the PO and QAM when substantive changes are needed to the QAPP. EPA
may require the QAPP be updated and re-submitted for approval.

The recipient must review their approved QAPP at least annually. The results of the QAPP review and
any revisions must be submitted to the PO and the QAM at least annually and may also be submitted
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when changes occur.

For Reference:

• Quality Management Plan (QMP) Standard and EPA's Quality Assurance Project Plan (QAPP)
Standard; contain quality specifications for EPA and non-EPA organizations and definitions applicable to
these terms and conditions.

• EPA QA/G-5: Guidance for Quality Assurance Project Plans.

• EPA's Quality Program website has a list of QA managers, and Non-EPA Organizations Quality
Specifications.

H. Real Property

In accordance with 2 CFR 200.311, title to Real Property acquired or improved under this agreement will
vest upon acquisition by the Recipient, including but not limited to title to Real Property acquired through
exercise of a remedy for default of a Financial Assistance arrangement. This Real Property must be used
for the originally authorized purpose as long as needed for that purpose, during which time the Recipient
must not dispose of or encumber its title or other interests. The Real Property Programmatic Term and
Condition flows down to Subrecipients but not to Program Beneficiaries or Contractors that receive
Financial Assistance to Qualified Projects, which may acquire title to Real Property after receiving
Financial Assistance to Qualified Projects.

The Recipient must obtain prior approval from the EPA Award Official for the acquisition of Real
Property. Note that the Recipient may meet this requirement by specifying the types of acquisitions of
Real Property it plans to carry out (including in cases where the Recipient would acquire title to Real
Property through exercise of a remedy for default) in its workplan in effect under this Assistance
Agreement.

Disposition

If the Recipient disposes of the Real Property and uses the proceeds for the originally authorized
purpose (i.e., under the terms and conditions of the Award Agreement), then the proceeds will be treated
as Program Income and there are no further disposition requirements.

Otherwise, when Real Property is no longer needed for the originally authorized purpose, the Recipient
must obtain disposition instructions from EPA. The instructions will provide for one of the following
alternatives:

       1. Retain title after compensating EPA. The amount paid to EPA will be computed by applying
       EPA's percentage of participation in the cost of the original purchase (and costs of any
       improvements) to the fair market value of the property. However, in those situations where
       Recipient is disposing of Real Property acquired or improved with a Federal award and acquiring
       replacement Real Property under the same Federal award, the net proceeds from the disposition
       may be used as an offset to the cost of the replacement property.

       2. Sell the property and compensate EPA. The amount due to EPA will be calculated by applying
       EPA's percentage of participation in the cost of the original purchase (and cost of any
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       improvements) to the proceeds of the sale after deduction of any actual and reasonable selling
       and fixing-up expenses. If the Federal award has not been closed out, the net proceeds from sale
       may be offset against the original cost of the property. When the Recipient is directed to sell
       property, sales procedures must be followed that provide for competition to the extent practicable
       and result in the highest possible return.

       3. Transfer title to EPA or to a third party designated/approved by EPA. The Recipient is entitled
       to be paid an amount calculated by applying the Recipient's percentage of participation in the
       purchase of the Real Property (and cost of any improvements) to the current fair market value of
       the property.

Recordation

As authorized by 2 CFR 200.316, EPA requires that Recipients who use EPA funding to purchase and
improve Real Property through an EPA funded construction project record a lien or similar notice in the
Real Property records for the jurisdiction in which the Real Property is located, which indicates that the
Real Property has been acquired and improved with federal funding and that use and disposition
conditions apply to the Real Property.

I. Program Income

In accordance with Clean Air Act Section 134(b)(1)(C) as well as 2 CFR 200.307(c) and 2 CFR 1500.8
(b), the Recipient must retain Program Income earned during the Period of Performance. Program
Income will be added to funds committed to the program by EPA and used for the purposes and under
the conditions of the Assistance Agreement and beyond the Period of Performance based on a Closeout
Agreement.

In any period of time before such a Closeout Agreement is effective but after the Recipient has fully used
the award for allowable activities, the Recipient is authorized to use Program Income under the terms
and conditions of the Assistance Agreement, as opposed to the terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition. The terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition will supplant the terms and conditions of the
Assistance Agreement once the Closeout Agreement becomes effective.

In accordance with 2 CFR 1500.8(d) as supplemented by the Period of Performance Programmatic Term
and Condition, under ordinary circumstances, the Recipient may only use Program Income once the
initial award funds are fully used for allowable activities or the Period of Performance ends for a different
reason. However, Program Income may be used by the Recipient in advance of the initial award funds
being fully used where reasonable and necessary to execute the activities in the workplan in effect under
this Assistance Agreement.

J. Use of Logos

If the EPA logo is appearing along with logos from other participating entities on websites, outreach
materials, or reports, it must not be prominently displayed to imply that any of the Recipient or
Subrecipient's activities are being conducted by the EPA. Instead, the EPA logo should be accompanied
with a statement indicating that the Recipient received financial support from the EPA under an
Assistance Agreement. More information is available at: https://www.epa.gov/stylebook/using-epa-seal-
and-logo#policy.
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III. ADDITIONAL PROGRAMMATIC TERMS AND CONDITIONS

A. Eligible Recipient

The Recipient agrees to maintain its status as an Eligible Recipient, which includes:

       a. Meeting the definition of Nonprofit organization set forth in 2 CFR 200.1;

       b. Having an organizational mission consistent with being “designed to provide capital, leverage
       private capital, and provide other forms of financial assistance for the rapid deployment of low-
       and zero-emission products, technologies, and services;”

       c. Not receiving any “deposit” (as defined in Section 3(l) of the Federal Deposit Insurance Act) or
       “member account” or “account” (as defined in Section 101 of the Federal Credit Union Act);

       d. Being funded by public or charitable contributions; and

       e. Having the legal authority to invest in or finance projects.

B. Workplan and Budget

The Recipient agrees to execute the workplan in effect under this Assistance Agreement. This document,
once approved by the EPA, will reflect an agreement between the Parties and will be incorporated into
and be a part of the agreement between the Recipient and the EPA.

The Recipient agrees to conduct an annual review of the workplan in effect under this Assistance
Agreement within 90 calendar days of June 30 of each calendar year. If material changes are made
during the annual review or in between annual reviews, the Recipient agrees to submit the updated
workplan to the EPA Project Officer.

The Recipient also agrees to conduct an annual review of the EPA-approved detailed budget table within
90 calendar days of June 30 of each calendar year. If material changes are made during the annual
review or in between annual reviews, the Recipient agrees to submit the updated detailed budget table to
the EPA Project Officer. Such submissions are not subject to prior approval unless otherwise required by
the regulations or the terms and conditions of the Award Agreement.

C. Recipient Organizational Plan

The Recipient agrees to execute the workplan in accordance with the documents listed below, as
submitted to EPA through Grants.gov for EPA-R-HQ-NCIF-23 or provided to EPA after the application
submission deadline.

       1. Organizational Plan, pursuant to Section IV.C: Content of Application Submission of the Notice
       of Funding Opportunity;

       2. Legal Entity Structure Diagram, pursuant to Section IV.B: Application Materials of the Notice of
       Funding Opportunity; and
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       3. Organizational and Governing Documents, pursuant to Section IV.B: Application Materials of
       the Notice of Funding Opportunity.

The Recipient agrees to maintain its incorporation in the United States, as reflected in the above
documents.

The Recipient agrees to conduct an annual review of the documents within 90 calendar days of June 30
of each calendar year. If material changes are made during the annual review or in between annual
reviews, the Recipient agrees to submit the updated documents to the EPA Project Officer. Such
submissions are not subject to prior approval unless otherwise required by the regulations or the terms
and conditions of the Award Agreement.

D. Recipient Policies and Procedures

The Recipient agrees to execute the workplan in accordance with the documents listed below (or other
documents submitted in lieu of the documents listed below), as submitted to EPA through Grants.gov for
EPA-R-HQ-NCIF-23 or provided to EPA after the application submission deadline.

       1. Legal and Compliance Risk Management Policies and Procedures, pursuant to Section IV.B:
       Application Materials of the Notice of Funding Opportunity;

       2. Financial Risk Management Policies and Procedures, pursuant to Section IV.B: Application
       Materials of the Notice of Funding Opportunity;

       3. Board Policies and Procedures, pursuant to Section IV.B: Application Materials of the Notice of
       Funding Opportunity;

       4. Management Policies and Procedures, pursuant to Section IV.B: Application Materials of the
       Notice of Funding Opportunity;

       5. Consumer Protection Policies and Procedures, pursuant to Section IV.B: Application Materials
       of the Notice of Funding Opportunity;

       6. Equity Policies and Practices    , pursuant to Section IV.B: Application Materials of the Notice
       of Funding Opportunity; and

       7. Conflict of Interest Mitigation Plan, which include all documents submitted upon EPA's request
       regarding measures that will be taken to eliminate, neutralize, mitigate or otherwise resolve
       conflicts of interest.

       8. Documentation of Personnel and Fringe Benefit Charges, which includes all documents
       submitted upon EPA's request to document how personnel and fringe benefits will be charged
       against the grant award in accordance with 2 CFR 200.430 Compensation—personal services
       and 2 CFR 200.431 Compensation—fringe benefits. Notwithstanding the content of the
       Recipient's EPA-approved budget, the Recipient is not authorized to charge the grant award for
       personnel and fringe benefits against employees without using the W-2 as the definitive definition
       of “employee” until the Documentation of Personnel and Fringe Benefit Charges has been
       reviewed and approved by the EPA, as communicated by the EPA Project Officer.
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The Recipient agrees to conduct an annual review of the documents within 90 calendar days of June 30
of each calendar year. If material changes are made during the annual review or in between annual
reviews, the Recipient agrees to submit the updated documents to the EPA Project Officer. With the
exception of the Documentation of Personnel and Fringe Benefit Charges, where changes will be subject
to prior approval, such submissions are not subject to prior approval unless otherwise required by the
regulations or the terms and conditions of the Award Agreement.

E. Allowable and Unallowable Activities

The Recipient agrees to only use the award to support the following allowable activities: Financial
Assistance to Qualified Projects; Predevelopment Activities; Market-Building Activities; and Program
Administration Activities. The Recipient must use awards funds exclusively for allowable activities within
the ten EPA regions, with the exception of the Freely Associated States. All costs charged to the award
to support these activities must meet the requirements for allowability under 2 CFR Part 200, Subpart E
as well as applicable provisions of 2 CFR Part 1500.

The Recipient agrees to not use the award for the following unallowable activities: (a) Financial
Assistance to Qualified Projects in the form of Subgrants; (b) Subgrants for the purposes of providing
Financial Assistance to Qualified Projects (other than Subgrants from the Recipient to first-tier
Subrecipients); and (c) activities that support deployment of projects that do not meet the definition of
Qualified Projects. The allowability of legal costs incurred in connection with the award shall be governed
by applicable provisions of 2 CFR Part 200, Subpart E, including but not limited to 2 CFR 200.403, 2
CFR 200.435, 2 CFR 200.441 and 2 CFR 200.459.

F. Foreign Entity of Concern

As part of carrying out this award, the Recipient agrees to ensure that entities the Recipient contracts
with, the Recipient makes Subawards to, or that receive funds as Program Beneficiaries at any tier of
funding under this grant agreement are not—

       (A) an entity owned by, controlled by, or subject to the direction of a government of a covered
       nation under 10 U.S.C. 4872(d);

       (B) an entity headquartered in a covered nation under 10 U.S.C. 4872(d); or

       (C) a subsidiary of an entity described in (A) or (B).

As of the date these terms and conditions become effective, covered nations under 10 U.S.C. § 4872(d)
are the Democratic People's Republic of North Korea; the People's Republic of China; the Russian
Federation; and the Islamic Republic of Iran.

G. LIDAC Expenditure Requirement

The Recipient agrees to ensure that a minimum of 40% of the award is used for the purposes of
providing Financial Assistance in Low-Income and Disadvantaged Communities, with compliance
maintained over each annual reporting period (i.e., from July 1 to June 30). Funds used for the purposes
of providing Financial Assistance may include Financial Assistance to Qualified Projects;
Predevelopment Activities; Market-Building Activities; and Program Administration Activities. This
requirement applies to the entire award provided to the Recipient but does not “flow down” to each
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Subrecipient.

H. Revolving Loan Fund Characterization

EPA considers the portion of the award used to provide Financial Assistance to Qualified Projects that
may generate Program Income as a capitalization of a revolving loan fund for the purposes of 2 CFR
1500.8(d). Such Financial Assistance may include Subawards, Participant Support Costs, and/or
Acquisitions of Intangible Property. In accordance with section 2.0 Applicability and Effective Date and
the definition of Subaward in section 3.0 of the EPA Subaward Policy, the EPA Subaward Policy does
not apply to the Recipient's Subawards from the capitalization of a revolving loan fund.

EPA does not consider the remaining portion of the award as a capitalization of a revolving loan fund for
the purposes of 2 CFR 1500.8(d). As such, all Subgrants made by the Recipient are subject to the EPA
Subaward Policy.

I. Subawards

Subawards to Technical Assistance Subrecipients

The Establishing and Managing Subawards General Term and Conditions applies to Technical
Assistance Subrecipients.

Subawards to Financial Intermediary Subrecipients

The following requirements apply when the Recipient provides a Subaward to a Financial Intermediary
Subrecipient. These requirements apply to the Recipient and Subrecipient in lieu of those specified in the
Establishing and Managing Subawards General Term and Condition, as the EPA Subaward Policy does
not apply to Financial Intermediary Subrecipients.

       1. The Recipient must establish and follow a system that ensures all Subawards to Financial
       Intermediary Subrecipients are in writing and contain all of the elements required by 2 CFR
       200.332(b), with the exception of the indirect cost provision of 2 CFR 200.332(b)(4) (which does
       not apply to loans). EPA has developed an optional template for Subaward Agreements available
       in Appendix D of the EPA Subaward Policy, which may also be used for such Subaward
       Agreements with Financial Intermediary Subrecipients.

       2. The Financial Intermediary Subrecipient must comply with the internal control requirements
       specified at 2 CFR 200.303 and is subject to the 2 CFR Part 200, Subpart F, Audit Requirements.
       The pass-through entity must include a condition in all Subawards that requires Financial
       Intermediary Subrecipients to comply with these requirements. No other provisions of the Uniform
       Grant Guidance, including the Procurement Standards, apply directly to the Subrecipient.

       3. Prior to making the Subaward, the Recipient must ensure that the Financial Intermediary
       Subrecipient has a “unique entity identifier.” This identifier is required for registering in the System
       for Award Management (SAM) and by 2 CFR Part 25 and 2 CFR 200.332(b)(1). The unique entity
       identifier (UEI) is generated when an entity registers in SAM. Information on registering in SAM
       and obtaining a UEI is available in the General Condition of the pass-through entity's agreement
       with EPA entitled “System for Award Management and Universal Identifier Requirements.”
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Subawards to Financial Assistance Subrecipients

The following requirements apply when the Recipient provides a Subaward to a Financial Assistance
Subrecipient. These requirements apply to the Recipient and Subrecipient in addition to those specified
in the Establishing and Managing Subawards General Term and Condition.

       1. The Recipient must obtain written approval from the EPA Award Official prior to providing a
       Subgrant to a Financial Assistance Subrecipient that would exceed $10,000,000 cumulatively in
       Financial Assistance Subawards under the National Clean Investment Fund and Capitalization
       Funding under the Clean Communities Investment Accelerator.

       2. Prior to providing a Subgrant not named on the application to a Financial Assistance
       Subrecipient, the Recipient must obtain disclosure from the potential Subgrantee regarding award
       funds that it has sought and/or received under the National Clean Investment and Clean
       Communities Investment Accelerator programs.

J. Participant Support Costs

The Recipient may provide Financial Assistance to Qualified Projects in the form of Participant Support
Costs. In addition, the Recipient may provide Participant Support Costs for other purposes, including
Predevelopment Activities, Market-Building Activities, and Program Administration Activities, to the extent
such purposes are authorized under the Award Agreement.

The Recipient agrees to the following eligibility, restrictions, timelines, and other programmatic
requirements on Participant Support Costs, in addition to other requirements included in the terms and
conditions of this Award Agreement:

       1. The Recipient and Program Beneficiaries are responsible for taxes, if any, on payments made
       to or on behalf of entities participating in this program that are allowable as Participant Support
       Costs under 2 CFR 200.1, 2 CFR 200.456, or 2 CFR 1500.1. EPA encourages the Recipient and
       Program Beneficiaries to consult their tax advisers, the U.S. Internal Revenue Service, or state
       and local tax authorities regarding the taxability of subsidies, rebates, and other participant
       support cost payments. However, EPA does not provide advice on tax issues relating to these
       payments.

       2. Participant Support Cost payments are lower tiered covered Nonprocurement transactions for
       the purposes of 2 CFR 180.300 and the Suspension and Debarment General Term and
       Condition. The Recipient, therefore, may not make Participant Support Cost payments to entities
       excluded from participation in Federal Nonprocurement programs under 2 CFR Part 180 and
       must ensure that Subrecipients adhere to this requirement as well. The Recipient is responsible
       for checking that Program Beneficiaries (i.e., entities receiving Participant Support Costs) are not
       excluded from participation through either (1) checking the System for Award Management
       (SAM) or (2) obtaining eligibility certifications from the Program Beneficiaries.

The Recipient agrees to provide written guidelines for Participant Support Costs to the EPA Project
Officer prior to making payments to Program Beneficiaries, unless already described in the Recipient's
workplan in effect under this Assistance Agreement. These guidelines must: (a) describe the activities
that will be supported by the Participant Support Costs; (b) specify the range of funding to be provided
through the Participant Support Costs; (c) identify which types of entities will have title to equipment (if
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any) purchased with the funds; (d) establish source documentation requirements (e.g., invoices) for
accounting records; and (e) describe purchasing controls to ensure that the amount of the Participant
Support Cost is determined in a commercially reasonable manner as required by 2 CFR 200.404.

K. Acquisitions of Intangible Property

2 CFR 200 Procurement Standards

The Recipient may provide Financial Assistance to Qualified Projects in the form of Acquisitions of
Intangible Property. The Recipient agrees to acquire Intangible Property in compliance with the conflict of
interest and competition requirements described in the 2 CFR Part 200 Procurement Standards. This
includes but is not limited to the requirements at 2 CFR 200.318 to:

       Have and use documented procurement procedures to govern acquisitions of Intangible Property;
       Maintain oversight to ensure that contractors perform in accordance with the terms, conditions,
       and specifications of their contracts;
       Maintain written standards of conduct covering conflicts of interest and governing the actions of
       employees engaged in the selection, award, and administration of contracts as well as maintain
       written standards of conduct covering organizational conflicts of interest;
       Prioritize entering into inter-entity agreements where appropriate for procurement or use of
       common or shared goods and services as the Recipient seeks to mobilize financing and private
       capital;
       Award contracts only to responsible contractors possessing the ability to perform successfully
       under the terms and conditions of the proposed procurement; and
       Maintain records sufficient to detail the history of procurement.

Disposition

If the Recipient disposes of the Intangible Property and uses the proceeds for the originally authorized
purpose (i.e., under the terms and conditions of the Award Agreement), then the proceeds will be treated
as Program Income and there are no further disposition requirements.

Recordation

The Recipient agrees to record liens or other appropriate notices of record to indicate that Intangible
Property has been acquired with Federal funding and that use and disposition conditions apply to the
Intangible Property, in cases where Financial Assistance to Qualified Projects is in the form of an
Acquisition of Intangible Property. As provided in 2 CFR 200.1: “…loans, notes and other debt
instruments, lease agreements, stock and other instruments of property ownership (whether the property
is tangible or intangible)” are Intangible Property for the purposes of the restrictions described at 2 CFR
200.315(a). “Other appropriate notices of record” is not limited to filing Uniform Commercial Code
instruments and may also include a notice of record in the legally-binding transaction documents.

Additional guidance is available at Best Practice Guide for Procuring Services, Supplies, and Equipment
Under EPA Assistance Agreements.

L. Labor and Equitable Workforce Development Requirements
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1. Davis-Bacon and Related Acts (DBRA)

A. Program Applicability

As provided in Section 314 of the Clean Air Act (42 USC § 7614) (DBRA), Davis-Bacon Act (42 USC §§
3141-3144) labor standards apply to projects assisted by grants and cooperative agreements made
under the Greenhouse Gas Reduction Fund. Accordingly, all laborers and mechanics employed by
contractors or subcontractors on projects assisted under this Award Agreement shall be paid wages at
rates not less than those prevailing for the same type of work on similar construction in the locality as
determined by the Secretary of Labor in accordance with 40 USC Subtitle II, Part A, Chapter 31,
Subchapter IV (Wage Rate Requirements). Under the Greenhouse Gas Reduction Fund, the relevant
construction type and prevailing wage classifications would be “Building” and “Residential.” The
Secretary of Labor's wage determinations are available at https://sam.gov/content/wage-determinations.

Under the Greenhouse Gas Reduction Fund, Davis-Bacon and Related Act requirements apply to forms
of Financial Assistance that directly fund and are directly linked to specific construction projects that were
not completed prior to the execution of the final binding documentation governing the use of the Financial
Assistance. The Recipient must ensure that any construction work financed in whole or in part with such
Financial Assistance, as defined in these Terms and Conditions, provided under this agreement complies
with Davis-Bacon and Related Act requirements and the requirements of these Terms and Conditions.

Note, however, that under the Greenhouse Gas Reduction Fund, Davis-Bacon and Related Act
requirements do not apply to any form of Financial Assistance which meets any of the following criteria:

       Financial Assistance which exclusively funds pre-construction (e.g. permitting or design work) or
       post-construction activities (e.g. Acquiring Intangible Property related to a previously completed
       construction project or re-financing activity related to a previously completed construction
       project).
       Financial Assistance which serves end-users who are individual homeowners or tenants of
       single-family homes or multifamily buildings when these individual end-users ultimately select the
       contractor(s) and execute the contract(s) for the construction work, as opposed to the Recipient,
       Subrecipient, or a contractor hired by the Recipient or Subrecipient.
       Financial Assistance which serves end-users who meet the definition of Federally Recognized
       Tribal Entities, as defined under this Assistance Agreement, when these Federally Recognized
       Tribal Entities ultimately select the contractor(s) and execute the contract(s) for the construction
       work, as opposed to the Recipient, Subrecipient, or a contractor hired by the Recipient or
       Subrecipient.
       Financial Assistance which serves any end-user when such Financial Assistance is less than
       $250,000 for a project and the end-user ultimately selects the contractor(s) and executes the
       contract(s) for the construction work, as opposed to the Recipient, Subrecipient, or a contractor
       hired by the Recipient or Subrecipient.

If the Recipient encounters a situation that presents uncertainties regarding DBRA applicability under this
Assistance Agreement, the Recipient must discuss the situation with the EPA Project Officer before
authorizing work on the project.

In the event that a periodic project site visit, audit, or routine communication with a Subrecipient,
Program Beneficiary, contractor, or subcontractor determines any instances of non-compliance or
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potential non-compliance with the requirements of this Term and Condition or the Davis-Bacon and
Related Act, the Recipient agrees to promptly inform the EPA Project Officer for possible referral to the
U.S. Department of Labor for guidance or enforcement action.

Note, the use of the term project in this term and condition is distinct from the use of the term project
within the definition of Qualified Project under Clean Air Act Section 134(c)(3), which is broader and
includes “any project, activity, or technology.” Consistent with the definitions at 29 CFR § 5.2, the term
“construction” refers to all types of work done on a particular building or work at the site of the work by
laborers and mechanics employed by a contractor or subcontractor. Additional guidance is available in
the definition of the term “building or work” in 29 CFR § 5.2.

B. Davis-Bacon and Related Acts

Davis-Bacon and Related Acts (DBRA) is a collection of labor standards provisions administered by the
Department of Labor, that are applicable to grants involving construction. These labor standards include
the:

       Davis-Bacon Act, which requires payment of prevailing wage rates for laborers and mechanics on
       construction contracts of $2,000 or more;
       Copeland “Anti-Kickback” Act, which prohibits a contractor or subcontractor from inducing an
       employee into giving up any part of the compensation to which he or she is entitled; and
       Contract Work Hours and Safety Standards Act, which requires overtime wages to be paid for
       over 40 hours of work per week, under contracts in excess of $100,000.

C. Recipient Responsibilities When Entering Into and Managing Contracts:

       a. Solicitation and Contract Requirements:

               i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: Recipients
               are responsible for complying with the procedures provided in 29 CFR 1.6(b) when
               soliciting bids and awarding contracts.

               ii. Include DBRA Requirements in All Contracts: Include “By accepting this contract, the
               contractor acknowledges and agrees to the terms provided in the DBRA Requirements for
               Contractors and Subcontractors Under EPA Grants.”

       b. After Award of Contract:

               i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
               request additional wage rates if required for contracts under this grant, as provided in 29
               CFR 5.5(a)(1)(iii).

               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
               contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

D. Recipient Responsibilities When Establishing and Managing Additional Subawards:

       a. Include DBRA Requirements in All Subawards (including Loans): Include the following text on
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       all Subawards under this grant: “By accepting this award, the EPA Subrecipient acknowledges
       and agrees to the terms and conditions provided in the DBRA Requirements for EPA
       Subrecipients.”

       b. Provide Oversight to Ensure Compliance with DBRA Provisions: Recipients are responsible for
       oversight of Subrecipients and must ensure Subrecipients comply with the requirements in 29
       CFR 5.6.

       c. Provide Oversight to Ensure Compliance with Participant Support Cost Requirements:
       Recipients are responsible for oversight of Subrecipients and must ensure that Subrecipients
       comply with the requirements in subsection E, below.

E. Recipient/Subrecipient Responsibilities When Managing Participant Support Costs to Program
Beneficiaries

When DBRA is applicable, Financial Assistance provided in the form of a participant support cost to a
Program Beneficiary shall include the following text:

       “[Name of Recipient/Subrecipient providing the Financial Assistance] retains the following
       responsibilities for all contracts and subcontracts assisted by this [form of Financial Assistance]:

       a. Solicitation and Contract Requirements:

               i. Include the Correct Wage Determinations in Bid Solicitations and Contracts: “[Name of
               Recipient/Subrecipient providing the Financial Assistance] is responsible for ensuring that
               any contracts or subcontracts made by Program Beneficiaries and/or assisted by
               Participant Support Costs comply with the procedures provided in 29 CFR 1.6(b) when
               soliciting bids and awarding contracts.

               ii. Include DBRA Requirements in All Contracts: Include the following text “By accepting
               this contract, the contractor acknowledges and agrees to the terms provided in the DBRA
               Requirements for Contractors and Subcontractors Under EPA Grants.”

       b. After Award of Contract:

               i. Approve and Submit Requests for Additional Wages Rates: Work with contractors to
               request additional wage rates if required for contracts under this grant, as provided in 29
               CFR 5.5(a)(1)(iii).

               ii. Provide Oversight of Contractors to Ensure Compliance with DBRA Provisions: Ensure
               contractor compliance with the terms of the contract, as required by 29 CFR 5.6.

The contract clauses set forth in this term and condition, along with the correct wage determinations, will
be considered to be a part of every prime contract covered by Davis-Bacon and Related Acts (see 29
CFR 5.1), and will be effective by operation of law, whether or not they are included or incorporated by
reference into such contract, unless the Department of Labor grants a variance, tolerance, or exemption.
Where the clauses and applicable wage determinations are effective by operation of law under this
paragraph, the prime contractor must be compensated for any resulting increase in wages in accordance
with applicable law.
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F. DBRA Compliance Monitoring Requirement

Reasonable and necessary costs for DBRA compliance are allowable and allocable grant costs. Such
costs include, but are not limited to, the procurement of a payroll reporting and compliance management
software product to meet the documentation and reporting requirements under 29 CFR 5.5(a)(3)(ii) for all
construction projects assisted under this award.

2. Compliance with Federal Statutes and Regulations

The Recipient agrees to comply with other applicable federal statutes and regulations related to labor
and equitable workforce development as well as to enforce compliance with Subrecipients, contractors,
and other partners (e.g., by including such provisions in contractual agreements). This includes but is not
limited to applicable health and safety regulations as administered by the Occupational Safety and
Health Administration.

3. Free and Fair Choice to Join a Union

In accordance with Executive Order 14082 (Implementation of the Energy and Infrastructure Provisions
of the Inflation Reduction Act of 2022), the Recipient agrees to design and implement a policy to increase
high-quality job opportunities for American workers and improving equitable access to these jobs,
including in traditional energy communities, through the timely implementation of requirements for
prevailing wages and registered apprenticeships and by focusing on high labor standards and the free
and fair chance to join a union.

In accordance with the EPA General Terms and Conditions, grant funds may not be used to support or
oppose union organizing, whether directly or as an offset for other funds.

4. Labor and Equitable Workforce Development Implementation Plan

In accordance with Executive Order 14082 (Implementation of the Energy and Infrastructure Provisions
of the Inflation Reduction Act of 2022), by December 31, 2024, the Recipient must submit a Labor and
Equitable Workforce Development Implementation Plan to the EPA Project Officer. The Implementation
Plan should articulate policies, practices, and procedures adopted by the Recipient to maximize high-
quality jobs and workforce development outcomes on projects assisted with the award. Examples of how
this can be demonstrated include, but are not limited to:

       Mechanisms for promoting job quality and evaluating labor standards on projects being
       considered for and/or receiving Financial Assistance;
       Plans to support workforce development as part of Market-Building Activities;
       Current and planned partnerships with labor and workforce development organizations, including
       the purpose of those partnerships;
       Mechanisms for maximizing training and employment opportunities for participants in Registered
       Apprenticeship Programs on projects, including apprenticeship utilization targets, as applicable;
       Mechanisms for creating high-quality job training and employment opportunities available to
       residents of low-income and disadvantaged communities through projects and other program
       activities; and
       Processes for promoting Project Labor Agreements on construction projects above $25,000,000,
       as appropriate, in alignment with Executive Order 14063 (Use of Project Labor Agreements for
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       Federal Construction Projects) and Executive Order 13502 (Use of Project Labor Agreements for
       Federal Construction Projects), as well as other types of binding agreements that promote strong
       workforce outcomes, such as Community Workforce Agreements and Community Benefits
       Agreements.

The Recipient may use or reference materials already submitted to EPA as part of its submission of the
Implementation Plan, where relevant.

Note that EPA may make the information from this plan available to the public, either in whole or in part,
through disclosing copies of the reports as submitted or using the content of the reports to prepare EPA
reporting documents. Pursuant to 2 CFR 200.338, the Recipient agrees to redact personally identifiable
information (PII) and mark confidential business information (CBI) accordingly. Information claimed as
CBI will be disclosed only to the extent, and by means of the procedures, set forth in 40 CFR Part 2,
Subpart B. As provided at 40 CFR 2.203(b), if no claim of confidential treatment accompanies the
information when it is received by EPA, it may be made available to the public by EPA without further
notice to the Recipient.

M. Build America, Buy America Act

The Build America, Buy America Act – Public Law 117-58, requires the EPA to ensure that for any
activity related to the construction, alteration, maintenance, or repair of infrastructure, “none of the funds
made available for a Federal Financial Assistance program for infrastructure, including each deficient
program, may be obligated for a project unless all of the iron, steel, manufactured products, and
construction materials used in the project are produced in the United States.” (P.L. 117-58, Secs 70911 –
70917).

The Recipient is bound to the EPA Build America, Buy America General Term and Condition, which
outlines the Build America, Buy America (BABA) requirements that all Recipients of EPA Financial
Assistance awards must comply with.

Under the Greenhouse Gas Reduction Fund, BABA requirements apply to forms of Financial Assistance
that directly fund and are directly linked to specific infrastructure projects that were not completed prior to
the date the Recipient's award funds were obligated by the EPA.

EPA interprets the definition of infrastructure consistent with 2 CFR 184 and M-24-02 (memorandum
dated as of October 23, 2023), including the “public function” test, when determining whether projects
qualify as public infrastructure, based on the Civil Rights Act definition of public accommodation.

The following types of Greenhouse Gas Reduction Fund projects are deemed infrastructure for the
purposes of BABA applicability:

       1. The public infrastructure portion of any property (e.g., retail in a mixed-use multi-family
       property) where the principal purpose of the Financial Assistance is to directly benefit such
       portion of the property;

       2. Privately-owned commercial buildings when they meet the “public function” test;

       3. Residential-serving community solar projects, which EPA deems “structures, facilities, and
       equipment that generate, transport, and distribute energy” per 2 CFR 184.4(c);
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       4. Publicly accessible EV charging stations;

       5. Publicly owned energy generation and/or storage transportation facilities;

       6. Publicly owned transportation facilities (e.g., bus depot);

       7. Privately-owned transportation facilities that serve a public function.

The following types of Greenhouse Gas Reduction Fund projects are not deemed infrastructure for the
purposes of BABA applicability:

       1. Privately-owned vehicles for private use;

       2. Certain publicly-owned or operated vehicles that EPA has determined do not constitute
       infrastructure (e.g. school buses);

       3. Privately-owned manufacturing or industrial facilities;

       4. Privately-owned offices;

       5. Single family homes;

       6. Privately-owned, non-mixed-use, multi-family housing properties;

       7. Privately-owned residential portions of mixed-use properties;

       8. EV charging stations that are not publicly accessible;

       9. Any privately-owned, behind-the-meter energy generation and storage project that does not
       otherwise meet the definition of infrastructure.

The inclusion of the following types of funding, support, guarantee, or sponsorship in the funding stack of
any Greenhouse Gas Reduction Fund project does not trigger BABA, in and of itself or in combination:

       1. Low-Income Housing Tax Credit (LIHTC);

       2. Fannie Mae and Freddie Mac Backed Multifamily Mortgages;

       3. Federal Housing Administration Insured Multifamily Mortgages;

       4. HUD Section 8 Funding;

       5. Other Federal, State, Tribal, or Local Housing Assistance Funding Sources: in general,
       subsidies issued by federal, state, tribal, or local housing assistance funding sources that do not
       confer equity or ownership stakes for the governmental funding source do not trigger BABA
       applicability.

BABA applicability is assessed at the time of provision of Financial Assistance based on the terms,
limitations, and requirements of the Financial Assistance. Applicability does not change retroactively
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based on a change of use (e.g., if a ground floor apartment is re-zoned for a restaurant). Recipients may
not temporarily modify or mischaracterize usage to intentionally avoid BABA compliance.

If the Recipient encounters a situation that presents uncertainties regarding Build America, Buy America
applicability under this Assistance Agreement, the Recipient must discuss the situation with the EPA
Project Officer before authorizing work on the project.

N. Governance Requirements

The Recipient agrees to comply with the following governance requirements starting December 31, 2024.
The governance requirements “flow-down” to Financial Assistance Subrecipients that have received in
excess of $10,000,000 in NCIF subgrants but not to other subrecipients. The governance requirements
are waived for (i) any entity that has been determined by the U.S. Treasury's CDFI Fund to meet the
CDFI certification requirements set forth in 12 CFR 1805.201 and (ii) any entity whose specific
governance structure is set forth in State, Tribal, or local law.

The Recipient (or Subrecipient) may meet all or some of the governance requirements through the
parent entity, provided the Recipient (or Subrecipient) is subject to the governance of the parent entity
and the Recipient (or Subrecipient) is wholly-controlled by the parent entity. Similarly, the governance
requirements may be waived for the Recipient (or Subrecipient) through the parent entity meeting the
CDFI certification requirements set forth in 12 CFR 1805.201, provided the Recipient (or Subrecipient) is
wholly-controlled by the parent entity.

1. Board Size and Composition

The Recipient agrees to ensure that its board size in terms of number of members (excluding advisory
committees) is commensurate with the scope of oversight and monitoring activities as well as the scale,
complexity, and risk profile of the Recipient's workplan in effect under this Assistance Agreement as well
as other business activities. The board must have a sufficient number of members to adequately staff
each of its
committees.
The Recipient agrees to ensure that its board consists of members that are qualified with relevant
expertise, skills, and track record as well as representative members (including from Low-Income and
Disadvantaged Communities).

2. Board Independence

The Recipient agrees to ensure that the majority of the board is independent, in accordance with the
Internal Revenue Service's definition of “independent” for the purposes of Form 990 reporting.

3. Board Committees

The Recipient agrees to have the following board-level committees to oversee and monitor management,
with each committee staffed by members qualified to execute the committee's objectives. While the
Recipient need not adhere to the exact naming convention or structure in this term and condition, each of
the responsibilities must be covered by board-level committees at all times during the Period of
Performance; for the avoidance of doubt, one committee may perform the responsibilities of one or more
of the committees specified below.
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       1. An investment or credit committee to oversee and approve investment or credit decisions;

       2. A risk management committee to oversee the formulation and operationalization of the risk
       management framework;

       3. An audit committee to oversee the integrity of reporting and internal controls and the
       performance of audit functions, with a majority independent members on such committee;

       4. A nomination/governance committee to oversee nomination and succession of board and
       senior management, with a majority independent members on such committee; and

       5. A compensation committee to oversee board as well as senior management and staff
       compensation, with a majority independent members on such committee.

Further, the Recipient agrees to act in good faith to ensure each committee obtains information from
management, auditors, or other third-parties necessary to discharge their duties.

4. Board Policies and Procedures

The Recipient agrees to enforce board policies and procedures including, among others, those that
ensure strong ethics and mitigate conflicts of interest; ensure appropriate board training to review and
assess internal risk assessments for all of the organization's significant activities; and ensure regular
board engagement, including frequency of meetings and attendance procedures.

The Recipient agrees to require recusals from any officers or members of the board of directors with a
personal or organizational conflict of interest in the decision-making and management related to financial
transactions under this award. Such recusals must include but not be limited to decision-making and
management of Subawards, participant support cost payments, Acquisitions of Intangible Property to or
from any organization in which an officer or member of the board of directors or their immediate family is
directly employed by or has a consulting or other contractual relationship with, serves on the board, or is
otherwise affiliated with the organization. The term “immediate family” has the same meaning as that
term in the EPA's Final Financial Assistance Conflict of Interest Policy.

O. Consumer Protection Requirements

The Recipient agrees to carry out the following consumer protection requirements to the extent that the
Recipient directly interacts, transacts, or contracts with consumers in the provision of Financial
Assistance to Qualified Projects:

       1. Comply with the Equal Credit Opportunity Act, the Truth in Lending Act, the Consumer
       Financial Protection Act, and other federal consumer protection laws that apply;

       2. Provide written disclosures to consumers containing information in clear and understandable
       language regarding purchasing, leasing, or financing as well as the costs associated with a
       consumer's transaction;

       3. With regard to solar products or services, provide written disclosures on the impact of the solar
       project on the consumer's ability to sell or refinance their home and recording of any liens on the
       home; consumer rights; contact information for the solar project provider; and complaint
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       procedures for the consumer if they have a problem with the solar project or sales process;

       4. Require that all in-person and telephone marketing that directly interacts, transacts, or
       contracts with consumers be conducted in a language in which the consumer subject to the
       marketing is able to understand and communicate; and

       5. Maintain a process for receiving, monitoring, and resolving consumer complaints, including
       ensuring that complaints are appropriately addressed and referring complaints, when necessary,
       to the appropriate government regulatory agency.

The Recipient agrees to monitor and oversee Subrecipients and contractors with respect to these
consumer financial protection requirements to the extent that they directly interact, transact, or contract
with consumers, in accordance with 2 CFR 200.332(e) and 2 CFR 200.318.

P. Financial Risk Management Requirements

1a. Cash Management Requirements: Advance Payments

The Recipient must deposit and maintain advance payments of Federal funds exclusively in insured
accounts, in accordance with 2 CFR 200.305(b)(10). As provided in 2 CFR 200.1, an advance payment
is “a payment that a Federal agency or pass-through entity makes by any appropriate payment
mechanism and payment method before the recipient or subrecipient disburses the funds for program
purposes.” A Recipient drawing down funds from ASAP prior to disbursement for actual and allowable
project costs constitutes an advance payment. Interest income earned on the advance payment from
EPA to the Recipient prior to disbursement is subject to the requirements on interest earned within 2
CFR 200.305(b)(11) and 2 CFR 200.305(b)(12); consequently, such interest earned in excess of $500
must be remitted annually to the Department of Health and Human Services Payment Management
System.

1b. Cash Management Requirements: Program Income

The Recipient is authorized to maintain Program Income in two types of accounts:

       1. Insured accounts, including in amounts in excess of the federal insurance limit of $250,000.
       2. Accounts where such income is used to purchase (i) U.S. Savings Bonds, U.S. Treasury
       Marketable Securities, and U.S. Agency Marketable Securities, provided the duration of such
       instruments is no longer than 90 calendar days (if purchased directly) and that such instruments
       are held-to-maturity (if purchased directly), or (ii) short-term money market funds consisting solely
       of the aforementioned investment instruments and offering daily investor redemptions. Note, the
       underlying instruments included in a short-term money market fund consisting solely of U.S.
       Savings Bonds, U.S. Treasury Marketable Securities, and U.S. Agency Marketable Securities
       and offering daily investor redemptions need not be of a particular duration or held-to-maturity.

Interest income and other returns earned on funds that have already been disbursed is considered
additional Program Income consistent with 2 CFR 1500.8(d) and is not subject to the requirements on
interest earned within 2 CFR 200.305(b)(11) and 2 CFR 200.305(b)(12).

2. Financial Health Metrics
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The Recipient agrees to report the following financial health metrics at the entity-level on an annual basis
in accordance with its fiscal year as well as on behalf of each Financial Assistance Subrecipient that
receives in excess of $10,000,000 in NCIF subgrants. The metrics are due to the EPA Project Officer
within 30 calendar days after submission of the reporting entity's Single Audit to the Federal Audit
Clearinghouse's Internet Data Entry System and may be submitted through the Organizational
Disclosures form. The requirement for submission of financial health metrics is not applicable for any
fiscal year in which the reporting entity did not meet the requirements of 2 CFR Subpart F—Audit
Requirements. The first financial health metrics are due in 2025.

       1. Net Asset Ratio: The net asset ratio is defined as net assets divided by total assets.
       2. Current Ratio: The current ratio is defined as current assets divided by current liabilities, where
       current assets is equal to the value of all assets that are reasonably expected to be converted
       into cash within the coming 12-month period in the normal course of business and current
       liabilities is equal to the total value of all debts or obligations that must be paid in the coming 12-
       month period.

       3. Delinquency Rate: The delinquency rate is defined as the value of loans outstanding that are
       90+ calendar days delinquent divided by the value of loans outstanding, where loans 90+
       calendar days delinquent includes those with outstanding balances 90+ calendar days overdue
       and still accruing interest as well as those in nonaccrual status.

       4. Net Charge-Off Rate: The net charge-off rate is defined as the value of loans charged-off over
       the past fiscal year, minus the value of loan recoveries over the past fiscal year, divided by the
       value of loans outstanding.

       5. Concentration: The concentration of the portfolio, as demonstrated by calculating and reporting
       on recipient-level exposure, defined as on-balance sheet exposures to a single consolidated
       entity over all on-balance sheet exposures, for top ten highest exposures.

Note, the Delinquency Rate and Net Charge-Off Rate may exclude the value of loans which include an
element of forgiveness, if and only if such forgiveness was established in the terms governing the
financial product at origination.

The EPA Project Officer will consider Recipient and, where applicable, Subrecipient performance against
these financial health metrics only to the extent by which they Materially Impair the Recipient's ability to
execute the workplan in effect under this Assistance Agreement when assessing whether the Recipient
is making sufficient progress in implementing the workplan in effect under this Assistance Agreement, as
specified in the Sufficient Progress clause under the Clarifications to EPA General Terms and Conditions
Programmatic Term and Condition.

3. Climate-Related Financial Risks

The Recipient agrees to comply with Executive Order 11988 (Floodplain Management). This may include
accounting for and evaluating practicable alternatives or other mitigation related to ameliorating flood
risks and protecting flood plains as part of its financial risk management policies and procedures.

The Recipient agrees to comply with Executive Order 14030 (Climate-Related Financial Risk). This may
include accounting for climate-related financial risks—including physical and transition risks—in its
financial risk management policies and procedures.
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4. Additional Requirements

The Recipient agrees to not subordinate EPA's interest in grant funds that have not yet been used for
program purposes in a manner that waives EPA's claim for compensation under any applicable statutory
claims, 2 CFR Part 200, or common law. Once a Recipient uses grant funds for program purposes and
incurs a financial obligation, as defined under 2 CFR 200.1, EPA will only seek claims on those funds in
the event that they were used for costs that do not comply with the terms and conditions of the Award
Agreement or if there is adequate evidence of Waste, Fraud, or Abuse, prompting adverse action by EPA
per 2 CFR 200.339. This does not prohibit the use of subordinated debt as a form of Financial
Assistance.

The Recipient agrees to provide Financial Assistance Subrecipients with training and technical
assistance on program-related matters, including on prudent financial risk management practices, in
accordance with 2 CFR 200.332(f).

Q. Historic Preservation

National Historic Preservation Act (NHPA)

Section 106 of the NHPA requires all federal agencies to consider the effects of their undertakings,
including the act of awarding a grant, on historic properties, and to provide the Advisory Council on
Historic Preservation (ACHP) a reasonable opportunity to comment on such undertakings. The Recipient
must assist the EPA Project Officer in complying with NHPA if any activities funded under this grant
impact a historic property. Historic properties can include: (a) land or buildings listed in or eligible for
listing on the National Register of Historic Places; (b) archaeologically sensitive areas or in an area
where traditional cultural properties are located; and (c) properties that are associated with significant
historic events, are associated with significant people, embody distinctive characteristics, and contain
important precontact information.

The Recipient should work with their Project Officer to ensure that Subrecipients are available to work
with EPA on any required consultation process with the State Historic Preservation Office (SHPO) or
Tribal Historic Preservation Office (THPO) prior to commencing the project to ensure compliance with
Section 106 of the NHPA.

If NHPA compliance is required, necessary Section 106 consultation activities, such as historic or
architectural surveys, structural engineering analysis of buildings, public meetings, and archival
photographs, can be considered allowable and allocable grant costs.

Archeological and Historic Preservation Act (AHPA)

This law applies if archeologically significant artifacts or similar items are discovered after an EPA-funded
construction project has begun, and compliance may be coordinated with the NHPA, discussed above.
The AHPA requires federal agencies to identify relics, specimens, and other forms of scientific,
prehistorical, historical, or archaeologic data that may be lost during the construction of federally-
sponsored projects to ensure that these resources are not inadvertently transferred, sold, demolished or
substantially altered, or allowed to deteriorate significantly. The Recipient must ensure that Subrecipients
performing construction projects are aware of this requirement, and the Recipient must notify EPA if the
AHPA is triggered.
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R. Uniform Relocation Assistance and Real Property Acquisition Policies Act

The Uniform Relocation Assistance and Real Property Acquisition Policies Act (URA) applies to
acquisitions of property and displacements of individuals and businesses that result from federally
assisted programs. The URA and Federal Highway Administration's implementing regulations at 49 CFR
Part 24 require the Recipient to follow certain procedures for acquiring property for purposes under the
federal award, such as notice, negotiation, and appraisal requirements. The statute and regulations also
contain requirements for carrying out relocations of displaced persons and businesses, such as
reimbursement requirements for moving expenses and standards for replacement housing. The
Recipient must comply with, and ensure Subrecipients comply with, the URA and 49 CFR Part 34 if an
EPA-funded acquisition of property results in permanent displacement of individuals or businesses. Note
that although the URA does not apply to temporary displacement of residents, the cost for temporary
relocation of residents may be an allowable cost under the “necessary and reasonable for the
performance of the Federal award” provision of 2 CFR 200.403(a). The Recipient must obtain prior
approval of the EPA Project Officer and EPA Award Official for the allowability of costs for temporary
relocation of residents.

S. Remedies for Non-Compliance

The Recipient agrees to comply with the terms and conditions of the Award Agreement. Should the
Recipient fail to adhere to the terms and conditions of the Award Agreement, the EPA may impose
additional conditions as set forth in 2 CFR 200.208. If the EPA determines that noncompliance cannot be
remedied by imposing additional conditions, the EPA may seek remedies under 2 CFR 200.339 up to
and including termination and the recovery of unallowable costs as provided in 2 CFR 200.343. As
specified in 2 CFR 200.343, which will remain in effect throughout the term of this award, costs during
suspension or after termination are allowable if (a) the costs result from financial obligations which were
properly incurred by the non-Federal entity before the effective date of suspension or termination, are not
in anticipation of it, and (b) the costs would be allowable if the Federal award was not suspended or
expired normally at the end of the period of performance in which the termination takes effect.

The Recipient agrees to comply with the statutory requirements of Section 134 of the Clean Air Act.
Should the Recipient violate the statutory requirements of Section 134 by failing to use grant funds in
accordance with Section 134 or by failing to ensure that the activities of Subrecipients are in accordance
with Section 134, EPA may seek remedies under Section 113, which may subject the Recipient to civil
administrative penalties through an EPA administrative enforcement action, civil penalties and/or
injunctive relief through a civil judicial enforcement action by the U.S. Department of Justice (DOJ), or
criminal penalties through a DOJ criminal judicial enforcement action.

Notwithstanding any other provision of this Award Agreement, EPA will not determine that Recipient has
failed to comply with the terms and conditions of the Award Agreement, without providing a reasonable
opportunity to remedy under 2 CFR 200.208, for good faith efforts to comply with the Performance
Reporting National Programmatic Term and Condition, Additional Programmatic Terms and Conditions
regarding Build America, Buy America or Labor and Equitable Workforce Development Requirements,
requirements for Subrecipient oversight, or to obligate or expend funds for allowable activities.

T. Clarifications to EPA General Terms and Conditions

EPA agrees to make the following clarifications to the EPA General Terms and Conditions. These
clarifications expand on, rather than replace or modify, the EPA General Terms and Conditions. The
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Recipient agrees to comply with these clarifications.

1. Indirect Cost Rate

The Recipient must exclude costs for acquisitions of Intangible Property from any calculations of
modified total direct costs (MTDC), as defined in 2 CFR 200.1. Intangible Property is not a “service” and
therefore is not included in MTDC. The Recipient should note that Subrecipients that receive loans
cannot charge an indirect cost rate against their loans and that entities that receive Participant Support
Costs cannot charge an indirect cost rate against their participant support cost payments.

Modified total direct costs (MTDC), as defined in 2 CFR 200.1, means all direct salaries and wages,
applicable fringe benefits, materials and supplies, services, travel, and up to the first $50,000 of each
Subaward (regardless of the period of performance of the Subawards under the award). MTDC excludes
equipment, capital expenditures, charges for patient care, rental costs, tuition remission, scholarships
and fellowships, Participant Support Costs and the portion of each Subaward in excess of $50,000.

In the event that the Recipient is compensating an affiliated entity for its direct and indirect costs related
to use of employees, the Recipient must not charge its indirect cost rate against any of these costs.

Notwithstanding the General Term and Condition “Indirect Cost Rate Agreements,” the Recipient may
claim up to a 15% de minimis rate of modified total direct costs authorized by 2 CFR 200.414(f).

2. Sufficient Progress

The EPA Project Officer may assess whether the Recipient is making sufficient progress in implementing
the workplan in effect under this Assistance Agreement under this Assistance Agreement within 90
calendar days of June 30, 2025 as well as within 90 calendar days of June 30 of each year thereafter
during the Period of Performance. “Sufficient progress” shall be assessed based on a comparison of the
Recipient's planned versus actual expenditures as well as planned versus actual outputs/outcomes. As
noted under the Financial Risk Management Programmatic Term and Condition, the Recipient's financial
health, as measured by the required Financial Health Metrics, are also an input in this process. This term
and condition “flows down” to Subrecipients, with the Recipient required to assess whether each
Subrecipient is making sufficient progress in implementing the workplan under its Subaward Agreement;
the Recipient may increase the frequency and scope of the review of sufficient progress of Subrecipients,
in accordance with 2 CFR 200.332 Requirements for Pass-Through Entities.

If the EPA Project Officer determines that the Recipient has not made sufficient progress in implementing
its workplan in effect under this Assistance Agreement, the Recipient, if directed to do so, must
implement a corrective action plan concurred on by the EPA Project Officer and approved by the Award
Official or Grants Management Officer pursuant to 2 CFR 200.208.

EPA will not find that the Recipient has failed to make sufficient progress in implementing its workplan in
effect under this Assistance Agreement based on shifts between types of Financial Assistance and/or
Qualified Projects over the Period of Performance (or other shifts in portfolio allocation, such as by region
or market segment, over the Period of Performance). If EPA finds the Recipient has failed to achieve
sufficient progress on deployment of Financial Assistance to Qualified Projects in general, or is achieving
progress at a slower rate than projected under the workplan in effect under this Assistance Agreement,
the Recipient will have an opportunity to implement a corrective action plan pursuant to 2 CFR 200.208.
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4. Termination

EPA maintains the right to terminate the Assistance Agreement only as specified in 2 CFR 200.339 and
the version of 2 CFR 200.340 effective as of October 1, 2024, when the noncompliance with the terms
and conditions is substantial such that effective performance of the Assistance Agreement is Materially
Impaired or there is adequate evidence of Waste, Fraud, or Abuse or material misrepresentation of
eligibility status, prompting adverse action by EPA per 2 CFR 200.339, through either a partial or full
termination. If EPA partially or fully terminates the Assistance Agreement, EPA must (1) de-obligate
uncommitted funds and re-obligate them to another Eligible Recipient selected under Funding
Opportunity Number 66.957 (NCIF) to effectuate the objectives of Section 134 of the Clean Air Act, 42
USC § 7434 within 90 days of the de-obligation and (2) amend the Recipient's Assistance Agreement to
reflect the reduced amount, based on the de-obligation. In accordance with 2 CFR 200.341, EPA will
provide the Recipient notice of termination. If an Eligible Recipient has assumed a legal obligation
properly incurred for an allowable activity entered into by a suspended or terminated Recipient, EPA will
re-obligate funds to the Eligible Recipient to satisfy the legal obligation and accept an amended workplan
and budget to that effect.

U. Period of Performance

The Period of Performance under this Award Agreement will end on the date specified in the Notice of
Award. However, the Period of Performance may end prior to the date specified in the Notice of Award if
all required work of the Federal award has been completed, in accordance with 2 CFR 200.344. In
accordance with 2 CFR 200.344(b), the Recipient agrees to liquidate all financial obligations incurred
under the award no later than 120 calendar days after the end date of the Period of Performance. In this
context, to “liquidate all financial obligations” means to pay outstanding bills, such as the payment of staff
salaries accrued during the Period of Performance but for which the due date falls after the end date of
the Period of Performance. To “liquidate all financial obligations” does not mean to liquidate, terminate,
or accelerate outstanding obligations related to the provision of Financial Assistance to Qualified Projects
at the end of the Period of Performance, which would continue to be subject to the Closeout Agreement.

The Recipient should note that the Recipient will not be considered to have met the requirements for
closeout under its award under 2 CFR 200.344 so long as any Subrecipient has not met the
requirements for closeout under its subaward under 2 CFR 200.344.

Notwithstanding the Extension of Project/Budget Period Expiration Date General Term and Condition, in
accordance with 2 CFR 200.308(g)(2), the Recipient is authorized to initiate a one-time extension of the
Period of Performance by up to 12 months without prior EPA approval, provided that the extension
complies with the requirements 2 CFR 200.308(g)(2). In accordance with 2 CFR 200.308(g)(2), the
Recipient must “notify the Federal agency in writing with the supporting justification and a revised period
of performance at least 10 calendar days before the conclusion of the period of performance.”

V. Closeout Agreement

As provided at 2 CFR 200.307(c) and 2 CFR 1500.8(d), after the end of the Period of Performance of the
Assistance Agreement, the Recipient may keep and use Program Income remaining at the end of the
Assistance Agreement and use Post-Closeout Program Income in accordance with this term and
condition. The Closeout Agreement goes into effect for this Assistance Agreement the earlier of 1) the
day after the Assistance Agreement Period of Performance ends, 2) the first date when all required work
of the Federal award has been completed in accordance with 2 CFR 200.344 and the Recipient has met
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the requirements for closeout (including but not limited to submitting the final report as specified in the
Performance Reporting Programmatic Term and Condition) or 3) an alternative date that is mutually
agreed by the Recipient and the EPA Grants Management Officer or Award Official.

In accordance with 2 CFR 200.344, EPA will proceed to closeout the Award Agreement and enter the
Closeout Period even if the Recipient has not met the requirements for closeout (including but not limited
to submitting the final report as specified in the Performance Reporting Programmatic Term and
Condition). As provided in 2 CFR 200.344: “When the recipient or subrecipient fails to complete the
necessary administrative actions or the required work for an award, the Federal agency or pass-through
entity must proceed with closeout based on the information available.” This Closeout Agreement is
therefore self-executing.

This term and condition is the entire Closeout Agreement between the EPA and the Recipient. If any
provisions of this Closeout Agreement are invalidated by a court of law, the parties shall remain bound to
comply with the provisions of this Closeout Agreement that have not been invalidated. The Closeout
Agreement will be interpreted and, if necessary, enforced under Federal law and regulations. The
Recipient shall comply with the requirements specified below as part of the Closeout Agreement.
Definitions within 2 CFR 200.1, including as supplemented through I. Definitions of this award
agreement, apply identically to how they do under the Period of Performance, unless otherwise noted.

As specified in the Flow-Down Requirements Programmatic Term and Condition, the Closeout
Agreement Programmatic Term and Condition flows down to Subrecipients such that the Recipient must
enter into a corresponding Closeout Agreement with any Subrecipient that has Program Income or
anticipates generating Post-Closeout Program Income at the end of the Subrecipient's Period of
Performance.

1. Allowable Activities

The Recipient shall use Post-Closeout Program Income in accordance with the Allowable and
Unallowable Activities Programmatic Term and Condition, as applicable.

2. Reporting Requirements

After the Closeout Agreement becomes effective, the Recipient shall disclose annual reports publicly, as
described in the Performance Reporting Programmatic Term and Condition, rather than meeting the
reporting requirements described in the Performance Reporting Programmatic Term and Condition.

3. LIDAC Expenditure Requirements

The Recipient shall expend 40% of Post-Closeout Program Income for the purposes of providing
Financial Assistance in Low-Income and Disadvantaged Communities and comply with this requirement
in accordance with the LIDAC Expenditure Requirement Programmatic Term and Condition, as
applicable. Funds used for the purposes of providing Financial Assistance may include Financial
Assistance to Qualified Projects; Predevelopment Activities; Market-Building Activities; and Program
Administration Activities. This requirement applies to the entire award provided to the Recipient but does
not “flow down” to each Subrecipient.

4. Cash Management Requirements
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The Recipient must maintain Post-Closeout Program Income in accordance with the Cash Management
Requirements in the Financial Risk Management Requirements Programmatic Term and Condition, as
applicable. However, the Recipient may submit a Cash Management Policy for review and approval by
the EPA Project Officer, which can authorize the Recipient to deviate from the aforementioned Cash
Management Requirements.

5. Financial Health Metrics

After the Closeout Agreement becomes effective, the Recipient agrees to report financial health metrics
in accordance with the Financial Health Metrics in the Financial Risk Management Requirements
Programmatic Term and Condition (on behalf of the Recipient as well as any Financial Assistance
Subrecipient that has received in excess of $10,000,000 in NCIF subgrants) publicly, rather than
disclosing the metrics to EPA, as applicable. The requirement for submission of financial health metrics
is not applicable for any fiscal year in which the reporting entity did not meet the requirements of 2 CFR
Subpart F—Audit Requirements. The Recipient agrees to add the following two financial health metrics
as part of the financial health metrics for the Closeout Period:

        1. Self-Sufficiency Ratio: The self-sufficiency ratio is defined as earned revenue divided by
        operating expenses, where earned revenue is equal to the value of all income earned from
        normal business transactions and operating expenses is equal to the value of all expenses
        incurred as a part of normal business operations over the prior 12-month period, not including
        interest, financing, depreciation, amortization, and loan loss provision expense.

        2. Operating Cash Ratio: The operating cash ratio is defined as cash and cash equivalents
        divided by operating expenses, where cash and cash equivalents is equal to the total value of all
        cash and cash equivalent items that can be converted into cash immediately and operating
        expenses is equal to the value of all expenses incurred as a part of normal business operations
        over the prior 12-month period, not including interest, financing, depreciation, amortization, and
        loan loss provision expense.

6. Conflicts of Interest

The Recipient agrees to comply with the conflict of interest requirements described in the Conflicts of
Interest Programmatic Term and Condition through September 30, 2031.

7. Remedies for Non-Compliance

The Recipient agrees to identical remedies for non-compliance that are specified in the Remedies for
Non-Compliance Programmatic Term and Condition, as applicable. During the Closeout Period, the
workplan and budget submitted for the Period of Performance are no longer applicable.

8. Suspension and Debarment

The Recipient agrees to ensure that Post-Closeout Program Income is not transferred to entities that are
currently suspended, debarred, or otherwise declared ineligible under 2 CFR Part 180. The Recipient
can maintain compliance with this requirement through either (1) checking the System for Award
Management (for Subrecipients, Contractors, or Program Beneficiaries) or (2) obtaining eligibility
certifications from counterparties (for Program Beneficiaries). The Recipient may access the System for
Award Management (SAM) exclusion list at https://sam.gov/SAM to determine whether an entity is
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presently excluded or disqualified.

9. Non-Discrimination

The Recipient must use Post-Closeout Program Income in compliance with EPA regulations at 40 CFR
Part 7 regarding non-discrimination in EPA-funded programs, as applicable.

Title VI of the Civil Rights Act of 1964, Section 504 of the Rehabilitation Act of 1973, The Age
Discrimination Act of 1975. The Recipient agrees to comply with these laws, prohibiting discrimination in
the provision of services or benefits, on the basis of race, color, national origin, sex, disability or age, in
programs or activities receiving federal financial assistance.

Pursuant to EPA's regulations on “Nondiscrimination in Programs receiving Federal Assistance from the
Environmental Protection Agency” in 40 CFR Part 5 and 40 CFR Part 7, the Recipient agrees, and will
require all Subrecipients to agree, not to discriminate on the basis of race, color, national origin, sex,
disability or age.

Executive Order 11246 Part III of Executive Order No. 11246 (September 24, 1965) as amended
prohibits discrimination in Federally assisted construction activities. As provided in section 301 of the
Executive Order, the Recipient will ensure that Subrecipients include the seven clauses specified in
section 202 of the Order in all construction contracts. Section 302 defines "Construction contract" as “any
contract for the construction, rehabilitation, alteration, conversion, extension, or repair of buildings,
highways, or other improvements to Real Property.” Contracts less than $10,000 are exempt from the
requirements of the Order.

10. Record-Keeping

In accordance with 2 CFR 200.334(e), the Recipient shall maintain appropriate records to document
compliance with the requirements of the Closeout Agreement (i.e., records relating to the use of Post-
Closeout Program Income) for a three-year period following the end of the Closeout Agreement, unless
one of the conditions specified in the regulation applies. Note that this requirement applies if and when
the Closeout Agreement is terminated, in accordance with Item 14. Termination of the Closeout
Agreement. EPA may obtain access to these records to verify that Post-Closeout Program Income has
been used in accordance with the terms and conditions of this Closeout Agreement. Records and
documents relating solely to performing the grant agreement prior to closeout may be disposed of in
accordance with 2 CFR 200.334.

Additionally, the Recipient must maintain adequate accounting records for how Post-Closeout Program
Income is managed and spent as well as all other appropriate records and documents related to the
activities conducted using Program Income.

The Recipient agrees to ensure that Subrecipients comply with Federal Funding Accountability and
Transparency Act (FFATA) reporting requirements. The Recipient may use the terms of its Subaward
Agreements or other effective means to meet its responsibilities.

11. Other Federal Requirements

The following other federal requirements apply to the use of Post-Closeout Program Income under the
Closeout Period to the same extent they do under the terms of the Performance Period:
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       Davis-Bacon and Related Acts, as specified in the Labor and Equitable Workforce Development
       Requirements Programmatic Term and Condition;
       Build America, Buy America Act, as specified in the Build America, Buy America Act
       Programmatic Term and Condition; and
       National Historic Preservation Act, as specified in the Historic Preservation Programmatic Term
       and Condition.

No other federal requirements apply to the use of Post-Closeout Program Income under the terms of this
Closeout Agreement, other than those specified in this Closeout Agreement.

12. Audit Requirements

The Recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during the
Closeout Period, as activities related to the Federal award referenced in 2 CFR 200.502(a) include
activities during the Closeout Period.

Through September 30, 2031, the Recipient agrees to notify the EPA Project Officer within 30 calendar
days of the submission of the Recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data
Entry System. This requirement “flows-down” to each Subrecipient in that the Recipient must also notify
the EPA Project Officer within 30 calendar days of the Subrecipient's Single Audit to the Federal Audit
Clearinghouse's Internet Data Entry System.

13. Amendments to the Closeout Agreement

The EPA Award Official or Grants Management Officer and the Recipient must agree to any
modifications to the terms and conditions of this Closeout Agreement. Agreed-upon modifications must
be in writing. Oral or unilateral modifications shall not be effective or binding.

14. Termination of the Closeout Agreement

The Closeout Agreement terminates when either of the following situations occur: (1) the Recipient holds
a de minimis amount of Post-Closeout Program Income and does not anticipate generating more than a
de minimis amount of additional Post-Closeout Program Income or (2) the Recipient and the EPA Award
Official or Grants Management Officer mutually agree to terminate the Closeout Agreement, with the
Recipient remitting current and future Post-Closeout Program Income to the federal government.

The ability to terminate the Closeout Agreement flows down to Subrecipients, as a Closeout Agreement
between the Recipient and Subrecipient terminates when either (1) the Subrecipient holds a de minimis
amount of Post-Closeout Program Income and does not anticipate generating more than a de minimis
amount of additional Post-Closeout Program Income or (2) the Subrecipient and the Recipient mutually
agree to terminate the Closeout Agreement, with the Subrecipient remitting current and future Post-
Closeout Program Income to the Recipient.

The de minimis amount must be agreed-upon in writing by the Recipient and the Director of the Office of
the Greenhouse Gas Reduction Fund (or equivalent), prior to the Recipient using the “de minimis” criteria
to terminate the Closeout Agreement.

15. Points of Contact
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The points of contact for the Closeout Agreement are the EPA Project Officer (for the EPA) and the
Authorized Representative on the EPA Key Contacts Form most recently submitted to the EPA Project
Officer (for the Recipient). If changes are made to these points of contact, the respective party must
notify the other within 30 calendar days of the planned change.

W. Legal Counsel

The Recipient agrees to appoint appropriate legal counsel if counsel is not already available.

X. Accounting Principles

The Recipient must account for all award funds in accordance with Generally Accepted Accounting
Principles (GAAP) as in effect in the United States.

The Recipient must segregate and account for the award funds separately from all other program and
business accounts. Additionally, the Recipient must segregate and account for Program Income
separately from all other program and business accounts.

Y. Internal Controls

The Recipient must comply with standards for internal controls described at 2 CFR 200.303. The
“Standards for Internal Control in the Federal Government” issued by the Comptroller General of the
United States referenced in § 200.303 are available online at https://www.gao.gov/assets/gao-14-704g.
pdf

Z. Audits

The Recipient agrees to meet the requirements of 2 CFR Subpart F—Audit Requirements during the
Period of Performance, as described in the Audit Requirements General Term and Condition.
Additionally, in accordance with 2 CFR 200.332 and 2 CFR 200.501(i), the Recipient agrees to disclose
directly to the EPA Project Officer audited financial statements from any for-profit Subrecipient that
expends $1,000,000 or more of EPA funds from the Recipient's grant program in the Subrecipient's fiscal
year. Any for-profit Subrecipient that must disclose such financial statements is required to select an
independent auditor consistent with the criteria set forth in 2 CFR 200.509 and obtain an independent
audit substantially similar in scope and quality to that of the Single Audit (see 2 CFR 200.500 et. seq.).
The Subrecipient must submit the audit to the Recipient within 9 months of the end of the Recipient's
fiscal year or 30 days after receiving the report from an independent auditor, whichever is earlier.

The Recipient agrees to notify the EPA Project Officer within 30 calendar days of the submission of the
Recipient's Single Audit to the Federal Audit Clearinghouse's Internet Data Entry System. This
requirement “flows-down” to each Subrecipient in that the Recipient must also notify the EPA Project
Officer within 30 calendar days of the Subrecipient's Single Audit to the Federal Audit Clearinghouse's
Internet Data Entry System.

AA. EPA Project Officer Oversight and Monitoring

Pursuant to 2 CFR 200.206(b) and (c), 2 CFR 200.208(b)(1), and 2 CFR 200.208(c)(3)(4) and (6), EPA
has determined that specific conditions are necessary to ensure that the National Clean Investment Fund
program is effectively carried out by Eligible Recipients that have not previously managed grants with the
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same scale and complexity of this agreement. These specific conditions will remain in effect throughout
the Period of Performance unless the EPA Award Official determines, based on a request by the
Recipient or EPA Project Officer, that some or all of the specific conditions are no longer necessary for
EPA to manage programmatic or financial risks.

The EPA Project Officer, or other EPA staff designated by the EPA Project Officer or Division Director of
the National Clean Investment fund, will oversee and monitor the grant agreement through activities, if
determined necessary, including:

       1. Upon request, requiring the Recipient to participate in an annual workshop (i.e., one workshop
       per calendar year) with other Recipients under the National Clean Investment Fund and/or Clean
       Communities Investment Accelerator; the EPA Project Officer will contact the Recipient to finalize
       details for each annual workshop.

       2. Participating in project activities, to the extent permissible under EPA policies, such as:
       consultation on effective methods of carrying out the workplan, provided the Recipient makes the
       final decision on how to perform authorized activities; coordination by EPA staff with other
       Recipients under the Greenhouse Gas Reduction Fund and with other EPA programs; and
       coordination by EPA staff with other federal programs to avoid duplication of effort;

       3. Closely monitoring the Recipient's management and oversight of Subrecipients and
       procedures for ensuring that Program Beneficiaries adhere to program participation guidelines;

       4. Closely monitoring the Recipient's performance to verify compliance with the workplan in effect
       under this Assistance Agreement and achievement of environmental results;

       5. Participating in periodic telephone conference calls with Recipient personnel to discuss project
       successes and challenges as well as similar items impacting program performance;

       6. Reviewing and commenting on performance reports prepared under the Award Agreement.
       Note that the final decision on the content of performance reports rests with the Recipient;

       7. Verifying that the Recipient is expending the award on allowable activities, including but not
       limited to reviewing a sample of Financial Assistance transactions to verify compliance with
       regulatory requirements and the terms and conditions of the Award Agreement; and

       8. Periodically reviewing costs incurred by the Recipient as well as its contractors and
       Subrecipients if needed to ensure appropriate expenditure of grant funds. Note that Recipients
       are not required to submit documentation of costs incurred before obtaining payments of grant
       funds.

Subject to approval by the EPA Award Official, the EPA Project Officer and the Recipient may mutually
agree to additional areas of oversight and monitoring.

Method for Reconsideration. If the Recipient believes that one or more of these specific conditions are
not warranted or requires modification, the Recipient must file a written objection naming the specific
condition(s) within 21 calendar days of the EPA award or amendment mailing date and must not draw
down funds until the objection is resolved. The Recipient must submit the written objection via email to
the Award Official, Grant Specialist, and Project Officer identified in the Notice of Award.
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AB. Compliant URL Links

The EPA may elect to develop informational materials to publicize the key characteristics of the
Recipient's GGRF award. These materials may include links to Recipient and/or Subrecipients' websites.
The Recipient agrees to work with the EPA Project Officer or another member of GGRF program staff to
ensure any such links are compliant with pertinent EPA and government-wide standards.

AC. Conflicts of Interest

The Recipient must comply with requirements on transfers of funds that create actual and potential
conflicts of interest, as specified in this term and condition. Transfers of funds include Subawards,
Contracts (including but not limited to Acquisitions of Intangible Property), and Participant Support Costs.
The definitions in the EPA's Financial Assistance Conflict of Interest Policy (COI Policy) apply to this term
and condition.

There are three categories of transfers of funds, with the requirements differing by each category (as
specified in this term and condition):

1. Transfers with Affiliated Entities: Subawards, Contracts, and Participant Support Costs to Affiliated
Entities or co-invested in projects with Affiliated Entities. An Affiliated Entity is any entity that is related to
the Recipient in accordance with the indicia of control described in 2 CFR 180.905.

2. Financial Assistance to Qualified Projects: Subawards, Contracts (in the form of Acquisitions of
Intangible Property), and Participant Support Costs as forms of Financial Assistance to Qualified
Projects, unless such transfers are with Affiliated Entities. These transfers are not within the scope of the
COI Policy, which states that “subawards in the form of loans, loan guarantees, interest subsidies and
principal forgiveness, purchases of insurance or similar transactions entered into with borrowers by
recipients of revolving loan fund capitalization grants or other EPA financial assistance agreements
where Agency funds may be used for lending activities.”

3. Subgrants and Contracts: Subgrants and Contracts (other than Acquisitions of Intangible Property),
unless such transfers are with Affiliated Entities.

Note that all Contracts (including Acquisitions of Intangible Property) must also comply with the conflict of
interest standards in 2 CFR 200.318(c).

1. Transfers with Affiliated Entities

Prior Approval of COI Mitigation Plan

The Recipient must not transfer funds with Affiliated Entities unless those transfers have been included in
an EPA-approved COI Mitigation Plan on Transfers of Funds with Affiliated Entities. The Recipient
agrees to seek prior EPA approval for changes to the COI Mitigation Plan on Transfers of Funds with
Affiliated Entities.

Quarterly Disclosure Requirement

The Recipient agrees to disclose, on a quarterly basis, a list of newly originated transfers of funds with
Affiliated Entities that are within the scope of its EPA-approved COI Mitigation Plan on Transfers of
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Funds with Affiliated Entities. Each quarterly disclosure must include (1) a list of such transfers of funds
made over the quarter and (2) steps taken to taken to eliminate, neutralize or mitigate any conflicts of
interest, in accordance with the EPA-approved COI Mitigation Plan on Transfers of Funds with Affiliated
Entities. The Recipient must disclose its own transfers as well as transfers made by Subrecipients.

The quarterly periods for such disclosures are defined as follows: April 1 to June 30; July 1 to September
30; October 1 to December 31; and January 1 to March 31. The Recipient must make the disclosures to
the EPA Project Officer within 30 calendar days of the end of the quarterly period.

Project Officer Review

In accordance with 2 CFR 200.337, the EPA Project Officer may access records relating to a subset of
transactions disclosed to review for compliance with the Recipient's EPA-approved COI Mitigation Plan
on Transfers of Funds with Affiliated Entities as well as this term and condition. The EPA Project Officer
will not approve transfers of funds in advance but rather will review transfers of funds that have already
occurred for compliance.

Waivers and Modifications

EPA agrees that, for transfers of funds with Affiliated Entities, the requirements of this term and condition
apply in lieu of the requirements of the Disclosing Conflict of Interest General Term and Condition.

On a case-by-cases basis, the EPA Project Officer may extend the due date for disclosures on transfers
of funds with Affiliated Entities. On a case-by-case basis, the EPA Project Officer may waive or modify
the disclosure requirements on transfers of funds with Affiliated Entities.

2. Financial Assistance to Qualified Projects

Quarterly Disclosure Requirement

The Recipient agrees to disclose, on a quarterly basis, a list of transfers of funds as Financial Assistance
to Qualified Projects with actual and potential conflicts of interest. Each quarterly disclosure must include
(1) a list of such transfers of funds made over the quarter and (2) steps taken to taken to eliminate,
neutralize or mitigate any conflicts of interest, in accordance with any EPA-approved documents related
to eliminating, neutralizing, and mitigating conflicts of interest. The Recipient must disclose its own
transfers as well as transfers made by Subrecipients.

The quarterly periods for such disclosures are defined as follows: April 1 to June 30; July 1 to
September 30; October 1 to December 31; and January 1 to March 31. The Recipient must make the
disclosures to the EPA Project Officer within 30 calendar days of the end of the quarterly period.

Project Officer Review

In accordance with 2 CFR 200.337, the EPA Project Officer may access records relating to a subset of
transactions disclosed to review for compliance with the Recipient's EPA-approved documents related to
eliminating, neutralizing, and mitigating conflicts of interest as well as this term and condition. The EPA
Project Officer will not approve transfers of funds in advance but rather will review transfers of funds that
have already occurred for compliance.
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Waivers and Modifications

On a case-by-cases basis, the EPA Project Officer may extend the due date for disclosures on transfers
of funds as Financial Assistance to Qualified Projects. On a case-by-case basis, the EPA Project Officer
may waive or modify the disclosure requirements on transfers of funds as Financial Assistance to
Qualified Projects.

3. Subgrants and Contracts

The Recipient agrees to comply with the Disclosing Conflict of Interest General Term and Condition for
Subgrants and Contracts (excluding Acquisitions of Intangible Property), unless such transfers are with
Affiliated Entities. If such transfers are with Affiliated Entities, then the Recipient is required to include
them in the process specified in 1. Transfers with Affiliated Entities.

AD. Prior Approvals

EPA will only have authority to review and approve revisions to the Recipient's workplan in effect under
this Assistance Agreement, budget, and other documents if authorized by 2 CFR 200.308 or 2 CFR
200.208. The Recipient must contact the EPA Project Officer when the EPA has prior approval authority
specified below. Approval will not be unreasonably withheld. Denial of a request for prior approval will be
provided in writing, with an explanation of the rationale.

Workplan

For the purposes of this Award Agreement, EPA interprets 2 CFR 200.308(c)(1) to enable the Recipient
to revise the activities specified in its workplan in effect under this Assistance Agreement without prior
EPA approval, provided the activities still comply with the terms and conditions of the Award Agreement.
The allowable and allocable grant costs are narrowly defined, pursuant to the terms and conditions of the
Award Agreement; in accordance with 2 CFR 200.308(c)(1), any changes to the workplan in effect under
this Assistance Agreement that comply with the statute as well as the terms and conditions would not be
a “change in the scope or objective of the project or program.” Therefore, so long as the Recipient is
updating its workplan in effect under this Assistance Agreement with the revised activities in accordance
with the terms and conditions of the Award Agreement, EPA will not require prior approval.

Budget

For the purposes of this Award Agreement, EPA implements 2 CFR 200.308(i)(2) in accordance with
Item 1 of the Transfer of Funds General Term and Condition to enable the Recipient to revise the EPA-
approved budget included in its Award Agreement without prior EPA approval, provided the cumulative
funding transfers among Object Class Categories (Personnel, Fringe Benefits, Travel, Equipment,
Supplies, Contractual, Construction, Other, Indirect) do not exceed 10% of the total budget approved at
time of award. Therefore, so long as the Recipient is updating its EPA-approved budget by transferring
funds by less than or equal to these amounts, EPA will not require prior approval.

However, notwithstanding the requirements of 2 CFR 200.308(i)(2), if the Recipient seeks to transfer any
amount of funds budgeted for Participant Support Costs to other budget categories, then it must seek
prior approval pursuant to 2 CFR 200.308(f)(5).

Transfers of Funds
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2 CFR 200.308(f)(6) requires the Recipient to obtain prior agency approval for “Subaward activities not
proposed in the application and approved in the Federal award.” If the types of activities are described in
the workplan in effect under this Assistance Agreement (including types of transfers to be conducted
through Subawards, Participant Support Costs, Acquisitions of Intangible Property, and other Contracts
as defined in 2 CFR 200.1), then EPA has provided the necessary prior agency approval for the
purposes of 2 CFR 200.308(f)(6). Approval for the purposes of this regulation does not mean that such
transfers of funds are compliant with the statutes, regulations, and terms and conditions.

Changes in Key Personnel

2 CFR 200.308(f)(2) requires the Recipient to obtain prior agency approval for a “[c]hange in key
personnel (including employees and contractors) that are identified by name or position in the Federal
Award.” If the Recipient is seeking to add or replace a “key person,” as defined by members of the board
of directors and Senior Management whose roles are specified in the most recently submitted
Organizational Plan, then the Recipient must obtain prior EPA approval of the qualifications of the key
person.

The Recipient must request prior agency approval for an addition or replacement of a “key person” via
email through the EPA Project Officer, who will have 8 calendar days to communicate EPA's disapproval
of their qualifications via email, along with an accompanying justification. If 8 calendar days have passed
without notification of EPA disapproval of the key person's qualifications pursuant to 2 CFR 200.308(c)
(2), the Recipient is authorized to change the “key person.” Once the change is effective, the Recipient
must submit an updated Organizational Plan to the EPA Project Officer.

AE. Flow-Down Requirements

As described in 2 CFR 200.101(b)(1), the terms and conditions of Federal awards flow down to
Subawards unless a particular section of 2 CFR 200.101 or the terms and conditions of the Federal
award specifically indicate otherwise. As required by 2 CFR 200.332(b), the Recipient agrees to ensure
that Subrecipients are aware of the requirements that apply to the Subrecipient.

For the purposes of this Award Agreement, all terms and conditions must flow down to Subawards to the
extent they are applicable. The EPA Project Officer is authorized to waive the applicability of
programmatic terms and conditions to Subawards, unless the term and condition implements statutory,
regulatory, or executive order requirements.

AF. Resolution of Disputes Termination Provision

The Recipient is precluded from drawing down more than 78.46% of the Total Approved Assistance
Amount until this condition is removed, which will occur when: a) the EPA Award Official, at the direction
of the Grants Competition Disputes Decision Official (GCDDO), provides written confirmation that all
administrative disputes under the National Clean Investment Fund and the Clean Communities
Investment Accelerator are resolved in accordance with the dispute resolution procedures in Appendix A
of the EPA Order 5700: Policy for Competition of Assistance Agreements; or b) the administrative
disputes are withdrawn, abandoned or dismissed; or c) December 31, 2024, whichever is sooner.

If EPA does need to alter the Selection Official's selection and partial funding decisions for this
agreement based on a GCDDO determination the EPA Award Official will partially terminate this
assistance agreement, de-obligate a portion of the funds that have been obligated and use the de-
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obligated funds to satisfy the terms of a GCDDO remedy benefiting another entity. The Recipient will
then provide an updated workplan and budget information, as needed, to amend the agreement.

For the purposes of this term and condition, EPA's partial termination may apply not just to obligated
funds that have not been drawn down from ASAP but also to Program Income that has been generated
and retained by the Recipient under 2 CFR 1500.8(d) and the Program Income Programmatic Term and
Condition of this agreement. In accordance with 2 CFR 200.307(e)(1), EPA may require that the amount
of funds committed by EPA to the Recipient be reduced by all or some of the Program Income that has
been generated by the Recipient.

AG. Deposit Account at Financial Agent

A depository institution has been designated as a financial agent of the United States (the Financial
Agent) for the Greenhouse Gas Reduction Fund. The Recipient is required to set up and utilize an
Account or Accounts at the Financial Agent in accordance with the Financial Agent Terms and
Conditions (Section V) included in this Assistance Agreement.

AH. Interim SF-425 Requirement

The Recipient must submit an SF-425 within 30 calendar days of receiving access to an Account or
Accounts at the Financial Agent, with the SF-425 covering all activities supported by funds drawn from
ASAP and disbursed for actual and allowable costs, other than funds disbursed into the Account or
Accounts at the Financial Agent.

AI. Amendments to Award Agreement

The EPA Award Official or Grants Management Officer and the Recipient must agree to any
modifications to the terms and conditions of this Award Agreement. Agreed-upon modifications must be
in writing. Oral or unilateral modifications shall not be effective or binding.

AJ. Preservation of Guidance and Data

Any statutes, regulations, agency documents, policies, and guidance (including FAQs and EPA's
Implementation Framework for the Greenhouse Gas Reduction Fund), or executive orders referenced
herein are incorporated by reference into the Award Agreement as of the effective date of this amended
Award Agreement. These incorporated documents will be controlling on Recipient and Subrecipients in
the event such documents are deleted, repealed, rescinded, or replaced unless a statute provides
otherwise. This includes, but is not limited to, the Uniform Administrative Requirements, Cost Principles
and Audit Requirements for Federal Awards; Title 2 CFR Part 200 effective October 1, 2024, and the
EPA General Terms and Conditions effective October 1, 2024.

This provision cannot be changed without the consent of the Recipient.



IV. ADMINISTRATIVE TERMS AND CONDITIONS

Please refer to Page 4, "Administrative Conditions."
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V. FINANCIAL AGENT TERMS AND CONDITIONS

A. Revisions to Award Agreement to Account for Financial Agent Arrangement

Because a depository institution has been designated as a financial agent of the United States (the
Financial Agent) for the Greenhouse Gas Reduction Fund, the following revisions to the Award
Agreement are effective without further action or notice required by the Recipient or EPA.

1. Revisions to Section I. Definitions

The following new definition will be added to the Award Agreement:

Capitalization by Nonexchange Capital Contribution: Capitalization by Nonexchange Capital Contribution
means award funds that (1) the Recipient draws down from the Automated Standard Application
Payments (ASAP) system and (2) disburses into the ‘Budget Account' as defined under the Deposit
Account at Financial Agent Programmatic Term and Condition to capitalize itself for subsequent use for
any of the following Allowable Activities: Financial Assistance to Qualified Projects; Predevelopment
Activities; Market-Building Activities; and Program Administration Activities. Under this two-step
transaction, which involves both a drawdown and disbursement, the Recipient's drawdown from ASAP is
deemed (a) an advance payment of Federal funds in accordance with 2 CFR 200.305(b)(1); while the
disbursement into the Deposit Account at Financial Agent is deemed (b) an allowable cost to be charged
to the EPA award, and (c) a “nonexchange transaction”, consistent with the definition of this term in the
Statement of Federal Financial Accounting Standards No. 5. The full amount of the Capitalization by
Nonexchange Capital Contribution must be recognized, reported, and accounted for as Program Income
in accordance with the Program Income Programmatic Term and Condition once clauses (a) and (b) are
fulfilled. Any Subrecipient with a Deposit Account at Financial Agent will be entitled to receive its
payments from Recipient as a Capitalization by Nonexchange Capital Contribution.

The definition of Program Income under the Award Agreement will be amended and replaced with:

Program Income: 2 CFR 200.1 defines Program Income as “gross income earned by the non-Federal
entity that is directly generated by a supported activity or earned as a result of the Federal award during
the period of performance except as provided in § 200.307(f).” 2 CFR 200.1 notes that Program Income
“includes but is not limited to income from fees for services performed, the use or rental or real or
personal property acquired under Federal awards, the sale of commodities or items fabricated under a
Federal award, license fees and royalties on patents and copyrights, and principal and interest on loans
made with Federal award funds.” For this program, there are two types of Program Income: (1) “Program
Income from Operations” and (2) “Program Income from Capitalization by Nonexchange Capital
Contribution”.

Program Income from Operations includes but is not limited to income from origination fees, servicing
fees, and asset management fees; dividends from equity investments; revenue from asset sales; release
of grant funds previously used as Financial Assistance (such as through loan guarantees, loan loss
reserves, or similar transactions); interest and other earnings on disbursements of grant funds that have
not been transferred to third parties; and funds raised with costs charged against the grant award (such
as private debt, philanthropic contributions, and other funds raised). Under this award agreement, the
Recipient is authorized to deduct the cost of generating Program Income from Operations under 2 CFR
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200.307(b) and 2 CFR 1500.8(b), provided the costs are reasonable and necessary for performance
under the federal award and the costs are not charged to the EPA award. Costs incidental to the
generation of Program Income from Operations include origination, servicing, and management costs
that are not charged as direct costs to the Federal award. Costs of generating Program Income from
Operations can be incurred in advance of receiving the gross income, with the Recipient incurring the
costs and later using gross income to reimburse itself for no more than the actual costs incurred to
generate the Program Income from Operations, provided the Recipient can account for the actual costs
incurred. Program Income from Operations requirements flow down to Subrecipients but not to
Contractors or Program Beneficiaries. Program Income from Operations can be earned prior to the
availability of the ‘Program Income from Operations' account as defined under the Deposit Account at
Financial Agent Programmatic Term and Condition.

Program Income from Capitalization by Nonexchange Capital Contribution means award funds from the
ASAP system that the Recipient draws down and immediately deposits into the ‘Budget Account' at the
Financial Agent in accordance with (a) the definition of Capitalization by Nonexchange Capital
Contribution and (b) the Deposit Account at Financial Agent Programmatic Term and Condition. Program
Income from Capitalization by Nonexchange Capital Contribution cannot be earned prior to the
availability of the ‘Budget Account' as defined under the Deposit Account at Financial Agent
Programmatic Term and Condition.

Both forms of Program Income under this program must be treated in accordance with the Program
Income Programmatic Term and Condition. EPA-specific rules on Program Income are provided at 2
CFR 1500.8, and rules on allowable fund raising costs are provided under 2 CFR 200.442 (with
additional details in Item 4 of the EPA Guidance on Selected Items of Cost for Recipients). Program
Income requirements flow down to Subrecipients but not to Contractors or Program Beneficiaries.

2. Revisions to Section II. National Programmatic Terms and Conditions

The Program Income Programmatic Term and Condition will be amended and replaced with:

Program Income

In accordance with Clean Air Act Section 134(b)(1)(C) as well as 2 CFR 200.307(e)(2) and 2 CFR 1500.8
(b), the Recipient must retain Program Income earned during the Period of Performance. Program
Income will be added to funds committed to the program by EPA and used for the purposes and under
the conditions of the Assistance Agreement and beyond the Period of Performance based on a Closeout
Agreement.

In any period of time before such a Closeout Agreement is effective but after the Recipient has fully used
the award for allowable activities, the Recipient is authorized to use Program Income under the terms
and conditions of the Assistance Agreement, as opposed to the terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition. The terms and conditions outlined under the
Closeout Agreement Programmatic Term and Condition will supplant the terms and conditions of the
Assistance Agreement once the Closeout Agreement becomes effective.

In accordance with 2 CFR 1500.8(d) as supplemented by the Period of Performance Programmatic Term
and Condition, under ordinary circumstances, the Recipient may only use Program Income from
Operations once the initial award funds are fully used for allowable activities or the Period of
Performance ends for a different reason. However, Program Income from Operations may be used by
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the Recipient in advance of the initial award funds (i.e. Program Income from Capitalization by
Nonexchange Capital Contribution) being fully used where reasonable and necessary to execute the
activities in the workplan in effect under this Assistance Agreement.

3. Revisions to Section III. Additional Programmatic Terms and Conditions

The Allowable and Unallowable Activities Programmatic Term and Condition will be amended and
replaced with:

Allowable and Unallowable Activities

The Recipient agrees to only use the award to support the following allowable activities: Capitalization by
Nonexchange Capital Contribution; Financial Assistance to Qualified Projects; Predevelopment Activities;
Market-Building Activities; and Program Administration Activities. The Recipient must use awards funds
exclusively for allowable activities within the ten EPA regions, with the exception of the Freely Associated
States. All costs charged to the award to support these activities must meet the requirements for
allowability under 2 CFR Part 200, Subpart E as well as applicable provisions of 2 CFR Part 1500.

Capitalization by Nonexchange Capital Contribution generates Program Income for the Recipient in an
amount equal to the available EPA award balance drawn down from ASAP into the ‘Budget Account' as
defined under the Deposit Account at Financial Agent Programmatic Term and Condition. Program
Income from Capitalization by Nonexchange Capital Contribution must be expended on Financial
Assistance to Qualified Projects, Predevelopment Activities, Market-Building Activities, and Program
Administration activities in accordance with the workplan in effect under this Assistance Agreement.

The Recipient agrees to not use the award for the following unallowable activities: (a) Financial
Assistance to Qualified Projects in the form of Subgrants; (b) Subgrants for the purposes of providing
Financial Assistance to Qualified Projects (other than Subgrants from the Recipient to first-tier
Subrecipients); (c) activities that support deployment of projects that do not meet the definition of
Qualified Projects; and (d) activities that support deployment of projects outside the boundaries of the ten
EPA regions. The allowability of legal costs incurred in connection with the award shall be governed by
applicable provisions of 2 CFR Part 200, Subpart E, including but not limited to 2 CFR 200.403, 2 CFR
200.435, 2 CFR 200.441 and 2 CFR 200.459.

The Deposit Account at Financial Agent Programmatic Term and Condition will be amended and
replaced with:

Deposit Account at Financial Agent

The Recipient will open a Deposit Account at a depository institution that has been designated as a
financial agent of the United States (the Financial Agent). Such account will be used as Recipient's
operating account for the award. Upon establishment of the Deposit Account, the Recipient will
drawdown the entire available EPA award balance from ASAP and disburse it into the Deposit Account,
where it must be maintained until the Closeout Agreement goes into effect in accordance with the
Closeout Agreement Programmatic Term and Condition. Note, this requirement applies to any and all
drawdowns from ASAP by the Recipient while the Deposit Account is available and accessible. Once the
Closeout Agreement goes into effect, the Recipient will be entitled to transfer any remaining funds in the
Deposit Account to an account at a financial institution of its choosing, provided such account is insured
in accordance with 2 CFR 200.305(b)(10)).
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The Recipient will grant EPA a perfected security interest in all funds held in the Deposit Account. The
Recipient will take all such actions, enter into all such agreements, and execute and deliver all such
documentation as may be necessary and/or as directed by EPA from time to time to establish and
maintain such security interest, including but not necessarily limited to entering into an account control
agreement (ACA) with the Financial Agent and EPA.

Notwithstanding any other provision of this Assistance Agreement, EPA will only furnish the Financial
Agent with a Notice of Exclusive Control under an ACA when EPA issues a written determination and
finding that the Recipient has failed to comply with the terms and conditions of this Assistance
Agreement, and that noncompliance is substantial such that effective performance of the Assistance
Agreement is Materially Impaired or there is adequate evidence of Waste, Fraud, or Abuse or material
misrepresentation of eligibility status, and that EPA has initiated action under 2 CFR 200.339 to wholly or
partly suspend or terminate the Federal award, as authorized in the terms of the Assistance Agreement.
The written determination and finding and a copy of the Notice of Exclusive Control shall be sent to the
Recipient when the Notice of Exclusive Control is furnished to the Financial Agent. EPA and Recipient
have mutually agreed only to the specific process outlined in this term for furnishing a Notice of Exclusive
Control instruction to the Financial Agent.

Note, funds in the Deposit Account that were legally obligated by the Recipient for financial obligations,
as defined under 2 CFR 200.1, prior to the issuance of, but not in anticipation of, a Notice of Exclusive
Control constitute “financial obligations which were properly incurred” by the Recipient in accordance
with 2 CFR 200.343 and are to remain allowable costs during suspension or after termination of the
Recipient's Assistance Agreement. Funds necessary to meet such financial obligations will be disbursed
to Program Beneficiaries, Subrecipients, Contractors, or any other third parties which are due payment
after a Notice of Exclusive Control is issued.

Note that a financial obligation to a third party for Financial Assistance is deemed “properly incurred” per
2 CFR 200.343 if it is a legally-binding, arms-length agreement where funds are transferred to the
‘Reserve Account' in accordance with these terms and conditions. Any Notice of Exclusive Control shall
not include any such funds. Funds necessary to meet such financial obligations for Financial Assistance
will be disbursed to Program Beneficiaries, Subrecipients, Contractors, or any other third parties which
are due payment after a Notice of Exclusive Control over other funds in the Deposit Account is issued.

Funds held in the Recipient's account at the Financial Agent may be invested in accordance with the
Cash Management Requirements in the Financial Risk Management Programmatic Term and Condition.
The Financial Agent will be compensated in accordance with the terms of a valid Financial Agency
Agreement (FAA).

The Deposit Account will consist of three distinct account types (‘Budget,' ‘Reserve', and ‘Program
Income from Operations'), each of which serves a distinct purpose (while the exact naming convention
and structure of these accounts may differ from the below, the accounts must perform a substantively
similar function). The Recipient is required to utilize the accounts at the Financial Agent for their intended
purpose during any period in which the accounts are available and accessible, with exceptions to this
requirement permitted by the EPA Project Officer only on a case-by-case basis, to the extent such
exceptions are necessary to execute against the workplan in effect under this Assistance Agreement.

1. Budget Account

This account within the Deposit Account will hold funds that have yet to be used for any of the following
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allowable activities: Financial Assistance to Qualified Projects; Predevelopment Activities; Market-
Building Activities; and Program Administration Activities. It will hold funds within a number of sub-
accounts that correspond to more specific allowable expenditures under the particular type of award or
subaward.

Transferring Funds Into the Budget Account. Upon establishment of the Deposit Account, the Recipient
will drawdown the entire available EPA award balance from ASAP directly into the Budget Account. The
Recipient will direct the Financial Agent to allocate funds across the various sub-accounts in the Budget
Account in accordance with its workplan in effect under this Assistance Agreement. Recipient need not
submit a certification notice to transfer funds within the Budget Account, but remains subject to the
Transfer of Funds EPA General Term and Condition and any associated pre-approval or notification
requirements therein.

Transferring Funds Out of the Budget Account. When transferring award funds out of the Budget
Account to provide Financial Assistance to Qualified Projects, Recipient must provide the EPA Project
Officer with a certification notice from the Recipient's chief executive officer (or equivalent), chief financial
officer (or equivalent), chief reporting officer (or equivalent), or chief compliance officer (or equivalent)
that the amount of the payment is necessary to execute against the workplan in effect under this
Assistance Agreement and that financing agreements for identified Qualified Projects necessitating the
payment have been reviewed by the Recipient's counsel for legal sufficiency, with notice provided to the
Financial Agent with the transfer request. The certification notice must include the following language:
“This certification is a material representation for the purposes of an EPA Financial Assistance
Agreement, and knowing and willful false statements may be subject to prosecution under 18 U.S.C.
1001 and other applicable criminal, civil and administrative sanctions.” The Recipient must “flow-down”
this requirement to Subrecipients, with each Subrecipient required to provide a substantively similar
certification notice to Recipient when transferring subaward funds out of the Budget Account to provide
Financial Assistance to Qualified Projects, with notice provided to the Financial Agent with the transfer
request. In accordance with 2 CFR 200.337, the Recipient must make those certifications available to the
EPA, upon request.

While transfers out of the Budget Account are not formally subject to any of the requirements established
in either the EPA General Term and Condition on Automated Standard Application Payments (ASAP)
and Proper Payment Draw Down or the Interim Drawdown Procedures Programmatic Term and
Condition, Recipient agrees to the following requirements:

        a) When the need for a longer disbursement window is known in advance of the transfer,
        Recipient must notify the EPA Project Officer prior to executing the transfer and follow-up to
        inform the EPA Project Officer of the amount of the transfer that has been disbursed for an
        Allowable Activity in 5, 10, and 14 business days. Recipient must return any undisbursed
        amounts to the Deposit Account at the Financial Agent on the 15th business day, or

        b) When the need for a longer disbursement window is not known in advance of the transfer,
        Recipient must notify the EPA Project Officer of the delay no later than 5 business days after the
        transfer and follow-up to inform the EPA Project Officer of the amount of the transfer that has
        been disbursed for an Allowable Activity in 10 and 14 business days. Recipient must return any
        undisbursed amounts to the Deposit Account at the Financial Agent on the 15th business day.

Recipients must obtain prior written approval from the EPA Project Officer (who will in turn notify the EPA
Award Official) for any transfers that will not be disbursed for an Allowable Activity within 15 business
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days.

These requirements “flow down” to Subrecipients, who agree to provide the same notifications to and
seek prior approval from Recipients where applicable.

2. Reserve Account

This account within the Deposit Account is intended to enable funds to be set-aside within the Financial
Agent for use for any form of Financial Assistance that requires the Recipient to pledge or legally commit
award funds for a future expenditure to a third party to meet a legal obligation.

Transferring Funds Into the Reserve Account. The Recipient may only transfer award funds into the
Reserve Account for grant performance purposes if the Recipient's chief executive officer (or equivalent),
chief financial officer (or equivalent), chief reporting officer (or equivalent), or chief compliance officer (or
equivalent) certify to the EPA Project Officer, with notice provided to the Financial Agent with the transfer
request, that the amount of the expenditure is necessary to execute against the workplan in effect under
this Assistance Agreement, and that financing agreements for identified qualified projects necessitating
the expenditure have been reviewed by Recipient's counsel for legal sufficiency. The certification notice
must include the following language: “This certification is a material representation for the purposes of an
EPA financial Assistance Agreement and knowing and willful false statements may be subject to
prosecution under 18 U.S.C. 1001 and other applicable criminal, civil and administrative sanctions.” The
Recipient must “flow-down” this requirement to Subrecipients, with each Subrecipient required to provide
a substantively similar certification notice to Recipient when transferring subaward funds into the
Reserve Account, with notice provided to the Financial Agent with the transfer request. In accordance
with 2 CFR 200.337, the Recipient must make those certifications available to the EPA, upon request.

Transferring Funds Out of the Reserve Account.

a. To Third Parties to Meet Legal Obligations

Funds in the Reserve Account may not be disbursed to Program Beneficiaries, Subrecipients,
Contractors, or any other third parties, unless the funds are necessary for the Recipient to satisfy a legal
obligation. The Recipient may only transfer award funds out of the Reserve Account to meet legal
obligations to such parties if the recipient's chief executive officer (or equivalent), chief financial officer (or
equivalent), chief reporting officer (or equivalent), or chief compliance officer (or equivalent) certify to the
EPA Project Officer, with notice provided to the Financial Agent with the transfer request, that the amount
of the expenditure is necessary to pay a third party pursuant to a financing agreement that has been
reviewed by recipient's counsel for legal sufficiency. The certification notice must include the following
language: “This certification is a material representation for the purposes of an EPA financial Assistance
Agreement and knowing and willful false statements may be subject to prosecution under 18 U.S.C.
1001 and other applicable criminal, civil and administrative sanctions.” The Recipient must “flow-down”
this requirement to Subrecipients, with each Subrecipient required to provide a substantively similar
certification notice to Recipient when transferring subaward funds out of the Reserve Account to meet
legal obligations to third parties, with notice provided to the Financial Agent with the transfer request. In
accordance with 2 CFR 200.337, the Recipient must make those certifications available to the EPA, upon
request.

While transfers out of the Reserve Account are not formally subject to any of the requirements
established in either the EPA General Term and Condition on Automated Standard Application Payments
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(ASAP) and Proper Payment Draw Down or the Interim Drawdown Procedures Programmatic Term and
Condition, Recipient agrees to the following requirements:

       a) When the need for a longer disbursement window is known in advance of the transfer,
       Recipient must notify the EPA Project Officer prior to executing the transfer and follow-up to
       inform the EPA Project Officer of the amount of the transfer that has been disbursed for an
       Allowable Activity in 5, 10, and 14 business days. Recipient must return any undisbursed
       amounts to the Deposit Account at the Financial Agent on the 15th business day, or

       b) When the need for a longer disbursement window is not known in advance of the transfer,
       Recipient must notify the EPA Project Officer of the delay no later than 5 business days after the
       transfer and follow-up to inform the EPA Project Officer of the amount of the transfer that has
       been disbursed for an Allowable Activity in 10 and 14 business days. Recipient must return any
       undisbursed amounts to the Deposit Account at the Financial Agent on the 15th business day.

Recipients must obtain prior written approval from the EPA Project Officer (who will in turn notify the EPA
Award Official) for any transfers that will not be disbursed for an Allowable Activity within 15 business
days.

These requirements “flow down” to Subrecipients, who agree to provide the same notifications to and
seek prior approval from Recipients where applicable.

b. To Program Income from Operations Account

When funds in the Reserve Account are no longer necessary to meet prudent capital management
practices consistent with the Recipient's overall risk portfolio and a potential legal obligation to a third
party pursuant to a financing agreement, the Recipient may transfer such funds to the Program Income
from Operations Account. Recipient need not submit a certification notice to effectuate such a transfer.

3. Program Income from Operations Account

This account within the Deposit Account will enable Program Income from Operations (as defined under
the definition of Program Income) to be held, tracked, and segregated in accordance with the Accounting
Principles Programmatic Term and Condition.

Transferring Funds Into the Program Income from Operations Account. When Recipient earns Program
Income from Operations, it must deposit such funds into the Program Income from Operations Account.
Recipient need not submit a certification notice to effectuate such a transfer. When Financial Agent
generates interest income on behalf of Recipient by investing Recipient liquidity in accordance with the
Cash Management Requirements under the Financial Risk Management Requirements Programmatic
Term and Condition, it must deposit such income into the Program Income from Operations Account in
accordance with the terms of the FAA. Such interest income is considered additional Program Income
consistent with 2 CFR 1500.8(d) and is not subject to the requirements on interest earned within 2 CFR
200.305(b)(11) and 2 CFR 200.305(b)(12).

Transferring Funds Out of the Program Income from Operations Account. Funds in this account may be
transferred to either the Budget Account or Reserve Account to be used for grant performance purposes
in accordance with the Program Income Programmatic Term and Condition. Recipient need not submit a
certification notice to effectuate such a transfer.
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Flow-Down Requirements of Deposit Account at Financial Agent. EPA may elect to extend the
requirements under this term and condition to any and all Financial Assistance Subrecipients of the
Recipient at EPA's sole discretion, including but not limited to Recipient establishing and maintaining a
security interest on all award funds held by its Financial Assistance Subrecipients at the Financial Agent.
